 

Case 19-13685 Doc 1

  

Fill in this information to identify your case;

  

United States Bankruptcy Court for the:
District of MARYLAND

Case number (lfknown).-

t)fficial Form 101Q`QQ/Zw /Z U{ Oj'g?%@

 

Chapter 7
n Chapter 11
_§|_ chapter 12
gm Chapter 13

pter you are filing under:

 

Filed 03/2Q/19 Pa€§i LGKO’BLQ §§ §

i§l% i~€;‘;ii 20 feit la

  

. 5 Ci check ifthis is an

amended filing

di we

Voluntary l'-‘etition for lndividuals Fi|ing for Bankruptcy 12/11

 

The bankruptcy forms use you and Debtor 1 to refer to a debtor filing alone. A married couple may file a bankruptcy case together-ca|led a
joint case-and in joint cases, these forms use you to ask for information from both debtols. For examp|e, if a form asks, “Do you own a car,”

the answer would be yes if either debtor owns a car. When information is needed about the spouses separately,
Debtor2 to distinguish between them. |n joint cases, one of the spouses must report information as Debtor 1 an

same person must be Debtor 1 in all of the forms.

Be as complete and accurate as possib|e. |f two married people are filing together,
information_ lf more space is needed, attach a separate sheet to this form. On the t

(if known). Answer every question.

mentify Yourself

the form uses Debtor 1 and
d the other as Debtor 2. The

both are equally responsible for supplying correct
op of any additional pages, write your name and case number

 

1. Your full name

Wn`te the name that is on your
govemment-issued picture
identification (for example,
your driver's license or
passport).

Bring your picture
identification to your meeting
with the trustee.

2. AlI other names you
have used in the last 8
years

include your married or
maiden names.

3. Only the last 4 digits of
your Socia| Security
number or federal
|ndividual Taxpayer
identification number
(lTlN)

Ofl'icia| Form 101

About Debtor 1:

About Debtor 2 (Spouse Only in a Joint Case):

 

 

 

Linda

First name First name
D

Middle name Middle name
Hart

Last name Last name

Sufnx (sr., Jr., n, m)

Sumx (Sr., Jr., u, m)

 

 

 

 

 

 

Linda

First name First name

D

Middle name Middle name
Woodard

Last name Last name
Linda

First name First name

Middle name Middle name
Hart

Last name Last name

xxx -xx_§(!__~_ xxx -xx-_~_*__
OR OR

9xx - xx - 9xx - xx _

Voluntary Petition for Individuals Fi|ing for Bankrup¢gy

page 1

 

 

 

 

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Debtor1 Linda D Hart
First Name Middle Name Lasl Name
About Debtor 1:

4. Any business names
and Employer
|dentification Numbers
(EIN) you have used in
the last 8 years

include trade names and
doing business as names

5. Where you live

6. Why you are choosing
this district to file for
bankruptcy

Ol°iicial Form 101

m l have not used any business names or E|Ns.

Case number (irimown)

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About Debtor 2 (Spouse Only in a Joint Case):

l;l l have not used any business names or Ele.

 

Business name

Business name

 

 

Business name

Business name

 

 

 

 

 

M _ § _
H~__`_`~_`~`_* U_ `______
lf Debtor 2 lives at a different address:
3228 Burton Ct
Number Street Number Street
Temp|e Hills M]) 20746
City State Z|P Code City State Z|P Code
Prince George
County County

If your mailing address is different from the one
above, fill it in here. Note that the court will send
any notices to you at this mailing address.

|f Debtor 2’s mailing address is different from
yours, fill it in here. Note that the court will send
any notices to this mailing address.

 

 

 

Number Street Number Street

P.O. Box P.O. Box

City State Z|P Code City State Z|P Code
Check one: Check one:

m Over the last 180 days before filing this petition,
l have lived in this district longer than in any
other district

Cl l have another reason. Explain.
(See 28 U.S_C. § 1408.)

 

 

 

 

Voluntary Petition for lndividua|s Fi|ing for Bankruptcy

m Over the last 180 days before filing this petition,
| have lived in this district longer than in any
other district

cl l have another reason. Explain.
(See 28 U.S.C. § 1408.)

 

 

 

 

page 2

 

 

 

Case 19-13685 Doc 1

Linda D

Hrst Name

Debtor 1

Midde Nama

Hart

Last Namo

-Tell the Court About Your Bankruptcy Case

Case number (iri<mn)

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7. The chapter of the
Bankruptcy Code you
are choosing to file
under

s. How you will pay the fee

s. Have you filed for
bankruptcy within the
last 8 years?

10. Are any bankruptcy
cases pending or being
filed by a spouse who is
not filing this case with
you, or by a business
partner, or by an
affiliate?

11. Do you rent your
residence?

OfEcial Form 101

Check one. (For a brief description of each, see Notice Re
for Bankruptcy (Form 2010)). Also, go to the top of page 1

gm Chapter 7
EI Chapter 11
Cl Chapter 12
UChapter 13

quired by 11 U.S.C. § 342(b) for Individuals Filing
and check the appropriate box.

§§ l will pay the entire fee when l file my petition. Please check with the clerk’s office in your
local court for more details about how you may pay. Typically, if you are paying the fee
yourself, you may pay with cash, cashier’s check, or money order. lf your attorney is
submitting your payment on your behalf, your attorney may pay with a credit card or check

with a pre-printed address.

Cl l need to pay the fee in installments. |f you choose this option, sign and attach the
Application for Individuals to Pay The Filing Fee in Installments (Official Form 103A).

iu l request that my fee be waived (You may request this option only if you are filing for Chapter 7.
By law, a judge may, but is not required to, waive your fee, and may do so only if your income is
less than 150% of the official poverty line that applies to your family size and you are unable to
pay the fee in installments). lf you choose this option, you must fill out the Application to Have the
Chapter 7 Filing Fee Waived (thcial Form 103B) and tile it with your petition.

 

 

 

 

 

 

 

la No
,.~_“.
l|;l Yes. Disin'ci when
MM/ DD/Y¥YY
District When
MM/ DD/YYYV
Distn'ct When
MM / DD / YYYY
V No
fu ¥es. Debtor
District When
MM / DD l YYYY
Debtor
Distn`ct When
MM / DD/ YYVY
§U"No. Go to line 12.

gm Yes.
residence?

ij No. Go to line 12.

Has your landlord obtained an eviction judgment agains

Case number

Case number

Case number

Relationship to you

Case number, `rf known

Relationship to you

Case number, if known

 

t you and do you want to stay in your

{L~_T Yes. Fill out Initial Statement About an Evicfion JudgmentAgainst You (Form 101 A) and file it with

this bankruptcy petition,

Volunwry Petition for Individuaig filing for Bankruptcy

page 3

 

 

 

, *~___

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Debtor 1 Lillda D

First Name Middfe Name

Hart Case number iii known)
Lssl Name

mpd About Any Businesses You Own as a Sole Proprietor

12. Are you a sole proprietor @No_ GO to Pari 4_

13.

 

of any full- or part-time
business?

A sole proprietorship is a
business you operate as an
individual, and is not a
separate legal entity such as
a corporation, partnership, or
LLC.

lf you have more than one
sole proprietorship, use a
separate sheet and attach it
to this petition.

Are you filing under
Chapter 11 of the
Bankruptcy Code and
are you a small business
debtol’?

For a definition of small

business debtor, see
11 U.S.C. § 101 (51D).

nj Yes. Name and location of business

 

Name of business, if any

 

Number Street

 

 

 

city stare ziP code

Check the appropriate box to describe your business:

UHealth Care Business (as denned in 11 U.S.C. § 101(27A))
iam Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
id Stockbroker (as defined in 11 U.S.C. § 101(53A))

[U commodity Broi<er (as defined in 11 u.s.c_ § 101(6))
m None of the above

lf you are filing under Chapter 11, the court must know whether you are a small business debtor so that it
can set appropriate deadlines lf you indicate that you are a small business debtor, you must attach your
most recent balance sheet, statement of operations, cash-flow statement, and federal income tax return or if
any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).

m No. l am not filing under Chapter 11.

n No. l am filing under Chapter 11, but l am NOT a small business debtor according to the definition in
the Bankruptcy Code.

cl Yes. l am filing under Chapter 11 and l am a small business debtor according to the deEnition in the
Bankruptcy Code.

meport if You Own or Have Any Hazardous Property or Any Property That Needs lmmediate Attention

14.

 

Do you own or have any
property that poses or is
alleged to pose a threat
of imminent and
identifiable hazard to
public health or safety?
Or do you own any
property that needs
immediate attention?
For example, do you own
pen'shable goods, or livestock
that must be fed, or a building
that needs urgent repairs?

thcial Form 101

m No
El Yes. Whai is the hazard?

 

 

lf immediate attention is needed, why is it needed?

 

 

 

Where is the property?

 

 

 

Number Street
City State Z|P Code
Voluntary Petition for lndividuals Filing for Bankruptcy page 4

 

 

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Debtor 1 linda D

First Name Middle Name

Hart

Last Name

 

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Case number (irkmn)

m Explain Your Efforts to Receive a Briefing About Credit Counseling

 

15. Tell the court whether
you have received a
briefing about credit
counseling.

The law requires that you
receive a brieth about credit
counseling before you file for
bankruptcy. You must
truthfully check one of the
following choices. lf you
cannot do so, you are not
eligible to tile.

lf you lile anyway, the court
can dismiss your case, you
will lose whatever filing fee
you paid, and your creditors
can begin collection activities
again.

Oflicial Fonri 101

About Debtor 1:

You must check one:

n l received a briefing from an approved credit
counseling agency within the 180 days before l
filed this bankruptcy petition, and l received a
certificate of completion.

Attach a copy of the certificate and the payment
plan, if any, that you developed with the agency.

El i received a briefing from an approved credit
counseling agency within the 180 days before l
filed this bankruptcy petition, butl do not have a
certificate of completion.

Within 14 days after you file this bankruptcy petition,
you MUST file a copy of the certihcate and payment
plan, if any.

n l certify that l asked for credit counseling
services from an approved agency, but was
unable to obtain those services during the 7
days after l made my request, and exigent
circumstances merit a 30-day temporary waiver
of the requirement

To ask for a 30-day temporary waiver of the
requirement attach a separate sheet explaining
what efforts you made to obtain the briefing, why
you were unable to obtain it before you filed for
bankruptcy, and what exigent circumstances
required you to file this case.

Your case may be dismissed if the court is
dissatisfied with your reasons for not receiving a
briefing before you filed for bankruptcy.

lf the court is satisfied with your reasons, you must
still receive a briefing within 30 days after you hie_
You must file a certificate from the approved
agency, along with a copy of the payment plan you
developed, if any. lf you do not do so, your case
may be dismissed.

Any extension of the 30-day deadline is granted
only for cause and is limited to a maximum of 15
days.

El | am not required to receive a briefing about
credit counseling because of:

[;l |ncapacity. l have a mental illness or a mental
deficiency that makes me
incapable of realizing or making
rational decisions about finances.

cl Disability. My physical disability causes me
to be unable to participate in a
briehng in person, by phone, or
through the intemet, even after l
reasonably tried to do so.

cl Active duty. l am currently on active military
duty in a military combat zone.

lf you believe you are not required to receive a
brieth about credit counseling, you must file a
motion for waiver of credit counseling with the court_

Voluntary petition for lndividuals Filing for

About Debtor 2 (Spouse Only in a Joint Case):

You must check one:

m l received a briefing from an approved credit
counseling agency within the 180 days before l
filed this bankruptcy petition, and l received a
certificate of completion.

Attach a copy of the certiiicate and the payment
plan, if any, that you developed with the agency.

m l received a briefing from an approved credit
counseling agency within the 180 days before l
filed this bankruptcy petition, but l do not have a
certificate of completion.

Within 14 days after you file this bankruptcy petition,
you MUST file a copy of the certificate and payment
plan, if any.

cl l certify that l asked for credit counseling
services from an approved agency, but was
unable to obtain those services during the 7
days after l made my request, and exigent
circumstances merit a 30-day temporary waiver
of the requirement

To ask for a 30-day temporary waiver of the
requirement attach a separate sheet explaining
what efforts you made to obtain the briefing, why
you were unable to obtain it before you liled for
bankruptcy, and what exigent circumstances
required you to file this case.

¥our case may be dismissed if the court is
dissatisfied with your reasons for not receiving a
briefing before you filed for bankruptcy.

lf the court is satisfied with your reasons, you must
still receive a briefing within 30 days after you file.
You must file a certificate from the approved
agency, along with a copy of the payment plan you
developed, if any. lf you do not do so, your case
may be dismissed

Any extension of the 30-day deadline is granted
only for cause and is limited to a maximum of 15
days.

El l am not required to receive a briefing about
credit counseling because of:

cl |ncapacity. l have a mental illness or a mental
dehciency that makes me
incapable of realizing or making
rational decisions about finances.

El oisabiriry. My physical disabiiiiy causes me
to be unable to participate in a
briefing in person, by phone, or
through the intemet, even after l
reasonably tried to do so.

m Active duty. l am currently on active military
duty in a military combat zone.

lf you believe you are not required to receive a
briefing about credit counseling, you must file a
motion for waiver of credit counseling with the court

Bankruptcy page 5

 

 

 

 

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Debtor 1 Lillda D Hal't Case number iii known)
First Name Middle Name Lasl Name

m Answer These Questions for Reporting Purposes

 

16a. Are your debts primarily consumer debts? Consumer debts are defined in 11 U.S.C. § 101(8)

16‘ what kind °f debts d° as “incurred by an individual primarily for a personal, fami|y, or household purpose.”
you have? W-~

ill No_ co to line isb.
ia Yes. coio line 17.

16b. Are your debts primarily business debts? Business debts are debts that you incurred to obtain
money for a business or investment or through the operation of the business or investment

@: No. Go to line 160.
ii;l Yes. Go to line 17.

16c_ State the type of debts you owe that are not consumer debts or business debts.

 

17. Are you filing under

chapter 7? iTj No. l arn not filing under Chapter 7. Go to line 18.

Do you estimate that after m Yes. l arn filing under Chapter 7. Do you estimate that after any exempt property is excluded and

any exempt property is administrative expenses are paid that funds will be available to distribute to unsecured creditors?
excluded and ii No

administrative expenses

are paid that funds will be m Ye$

available for distribution
tounsecured creditors? y 7

is. How many creditors do ial 149 l`|j 1,000-5,000 Fill 25,001-50,000
you estimate that you iEi'so-Qe iU5,001-10,000 iii 50,001-100,000
°We'-' j 100-199 [U 10,001-25,000 iEi More than 100,000
§'Ci 200-999 g y
19. How much do you im- $0-$50,000 m $1,000,001-$10 million n $500,000,001-$1 billion
estimate your assets fo iEl'$so,ooi-$ioo,ooo ii:isio,ooo,om-$so million El $1,000,000,001-$10 billion
be W°'ih? U $100,001-$500,000 E':sso,ooo,ooi-$ioo million ill $10,000,000,001-$50 billion
@'$500,001-$1 million iT_T '$100,000,001-$500 million El More than $50 billion
zo. How much do you iT $o-$50,000 5$1,000,001-$10 million El $500,000,001-$1 billion
estimate your liabilities ii:i 550,001-$100,000 :$10,000,001-$50 million ill $1,000,000,001-$10 billion
*° be? E$mo,ooi-$soo,ooo El $50.000,001-$100 million El $10,000,000,001-$50 billion
m $500,001-$1 million ici- $1 00,000,001-$500 million n More than $50 billion

F° o l have examined this petition, and | declare under penalty of perjury that the information provided is true and
ry u

correct

lf l have chosen to file under Chapter 7, | am aware that l may proceed, if eligible, under Chapter 7, 11,12, or 13
of title 11, United States Code. l understand the relief available under each chapter, and | choose to proceed
under Chapter 7.

lf no attorney represents me and l did not pay or agree to pay someone who is not an attorney to help me fill out
this document, l have obtained and read the notice required by 11 U.S.C. § 342(b).

| request relief in accordance with the chapter of title 11, United States Code, specified in this petition.

| understand making a false statement, concealing property, or obtaining money or property by fraud in connection
with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both.
18 U.S.C. §§ 152, 1341, 1519, and 3571.

 

Signature of Debtor 1 Signature of Debtor 2
Executed on y 3 92 0 / § Executed on
MM /DD lYYYY MM/ DD lYYYY

Official Form 101 Voluntary Petition for individuals Filing for Bankruptcy page 6

 

 

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Debtor 1 Linda D Hart Case number (irkmwn)

First Name Middle Name Last Name
For you if you are filing this The law allows you, as an individual, to represent yourself in bankruptcy court, but you
bankruptcy Withl-If an should understand that many people find it extremely difficult to represent
atf°l’ney themselves successfully. Because bankruptcy has long-term financial and legal

consequences, you are strongly urged to hire a qualified attorney.

lf you are represented by
an attomey’ you do not To be successful, you must correctly file and handle your bankruptcy case. The rules are very

need to me this page_ technical, and a mistake or inaction may affect your rights. For example, your case may be
dismissed because you did not file a required document, pay a fee on time, attend a meeting or
hearing, or cooperate with the court, case trustee, U.S. trustee, bankruptcy administrator, or audit
firm if your case is selected for audit. lf that happens, you could lose your right to tile another
case, or you may lose protections, including the benefit of the automatic stay.

You must list all your property and debts in the schedules that you are required to file with the
court. Even if you plan to pay a particular debt outside of your bankruptcy, you must list that debt
in your schedules lf you do not list a debt, the debt may not be discharged. lf you do not list
property or properly claim it as exempt, you may not be able to keep the property. The judge can
also deny you a discharge of all your debts if you do something dishonest in your bankruptcy
case, such as destroying or hiding property, falsifying records, or lying. lndividual bankruptcy
cases are randomly audited to determine if debtors have been accurate, truthful, and complete.
Bankmptcy fraud is a serious crime; you could be fined and imprisoned.

lf you decide to file without an attomey, the court expects you to follow the rules as if you had
hired an attorney. The court will not treat you differently because you are filing for yourself To be
successful, you must be familiar with the United States Bankruptcy Code, the Federal Rules of
Bankruptcy Procedure, and the local rules of the court in which your case is filed_ You must also
be familiar with any state exemption laws that apply.

Are you aware that filing for bankruptcy is a serious action with long-term financial and legal
consequences?

DNo

les

Are you aware that bankruptcy fraud is a serious crime and that if your bankruptcy forms are
inaccurate or incomplete, you could be fined or imprisoned?

ElNo

les

Did you pay or agree to pay someone who is not an attorney to help you fill out your bankruptcy forms?
No

El Yes. Name of Person .
Attach Bankmptcy Petifion Preparer's Notice, Declaration, and Signature (Oflicial Form 119).

 

By signing here, l acknowledge that l understand the risks involved in filing without an attomey. l
have read and understood this notice, and l am aware that filing a bankruptcy case without an
attorney may cause me to lose my rights or property if l do not properly handle the case.

W;z;/;WM x

 

 

 

 

 

 

4ighature of Debtor 1 Signature of Debtor 2
Date 03 20 / 7 Date
MM/DD /YYYV MMI DD/YYYY
Contact phone ¥K%y '_` (; q§ ¢VZ? g/ Contact phone
Cell phone Cel| phone
Email address Email address

 

 

Oflicial Form 101 Voluntary Petition for lndividuals Filing for Bankmptcy page 8

 

 

 

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B 2013 (Form 2013) (12/09)
UNITED STATES BANKRUPTCY CoURT
Disrricr of MARYLAND
In re Hart’ linda Case No.
Debtor 7 _ v
Chapter 'Q`zg`j a § g

 

CERTIFICATION OF N()TICE TO CONSUMER DEBTOR(S)
UNDER § 342(b) OF THE BANKRUPTCY CODE

Certification of [Non-Attorney] Bankruptcy Petition Preparer
I, the [non-attomey] bankruptcy petition preparer signing the debtor’s petition, hereby certify that l delivered to the debtor the
attached notice, as required by § 342(b) of the Bankruptcy Code.

 

 

Printed name and title, if any, of Bankruptcy Petition Preparer Social Security number (If the bankruptcy petition
Address: preparer is not an individual, state the Social Security
number of the officer, principal, responsible person, or
partner of the bankruptcy petition preparer.) (Required
X by ll U.S.C. § 110.)

Signature of Bankruptcy Petition Preparer or officer,
principal, responsible person, or partner Whose Social
Security number is provided above.

Certification of the Debtor
I (We), the debtor(s), affirm that I (we) have received and read the attached notice, as required by § 342(b) of the Bankruptcy
Code.

 

 

L//M/é/:./ WJ@ c/A/J/ X/%/A/ MM 03"20~/§
Pn'med Name(s) of Debtor(s) swaine ofDebror Date
Case No. (if known) X

 

Signature of Joint Debtor (if any) Date

 

Instructions: Attach a copy of Form B 201A, Notice to Consumer Debtor(s) Under § 342(b) of the Bankruptcy Code.

Use this form to certify that the debtor has received the notice required by ll U.S.C. § 342(b) only if the certification has
NOT been made on the Voluntary Petition, Ofticial Form Bl. Exhibit B on page 2 of Form Bl contains a certification by the
debtor’s attorney that the attorney has given the notice to the debtor. The Declarations made by debtors and bankruptcy
petition preparers on page 3 of Form Bl also include this certification

 

 

 

 

Case 19-13685 Doc 1

Fill in this information to identify your case:

Debtor 1 Linda D

Fi|ecl 03/20/19

 

F\rsl Name Middle Name

Debtor 2

 

(Spouse_ if tiling) Firsl Name Middxe Name

United States Bankmptcy Court for the:

LastName

District of MARYLAND

 

Case number

 

(lf known)

 

 

Official Form 107

 

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amended Hling

Statement of Financial Affairs for individuals Filing for Bankruptcy 04/16

Be as complete and accurate as possible. lf two married
information. lf more space is needed, attach a se

number (if known). Answer every question.

mims De¢ails About Your Marital Status and Where You Lived Before

1. What is your current marital status?

EMarried
n Not married

2. During the last 3 years, have you lived anywhere other than where you live now?

@No

m Yes. List all of the places you lived in the last 3 years. Do not include where you live now.

Debtor 1:

 

Number Street

 

 

city state ziP code

 

Number Street

 

 

city stare zlP code

3. Within the last 8 years, did you ever live with a s
states and tem`tories include Arizona, Califomia, ld

MNo

pouse or legal equivalent in a communi
aho, Louisiana, Nevada, New Mexico, Pue

people are filing together, both are equally responsible for supplying correct
parate sheet to this form. On the top of any additional pages, write your name and case

 

 

 

 

Dates Debtor 1 Debtor 2: Dates Debtor 2
lived there lived there
n Same as Debtor 1 n Same as Debtor 1
From From
Number Street
To To
City State Z|P Code
m Same as Debtor 1 m Same as Debtor 1
From From
Number Street
To To

 

 

city

n Yes. Make sure you lill out Schedule H: Your Codebtors (Oflicial Form 106H).

mixplain the Sources of ¥our lncome

Statement of Financial Affairs for lndividuals Filing for Bankruptcy page 1

Official Form 107

State Z|P Code

ty property state or territory? (Community property
rto Rico, Texas, Washington, and Wisconsin.)

 

 

 

 

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Debtor1 linda D Hart Case number (irknawn)
Fiisi Name Middle Name tim Name

 

4. Did you have any income from employment or from operating a business during this year or the two previous calepdar years?

Fill in the total amount of income you received from all jobs and all businesses, including part-time activities
lf you are filing a joint case and you have income that you receive together, list it only once under Debtor 1.

ENO

I_T Yes. Fiii in the details

Debtor 1 Debtor 2
Souroes of income Gross lncome Souroes of income
Check all that app|y. (before deductions and Check all that apply.
exclusions)
From January 1 of current year until M Wages’ °°mmissi°"$’ 7410 a Wage$' °°mmissi°"$'
bonuses, tips $ bonuses, tips

 

the date you filed for bankruptcy:

 

cl Operating a business cl Operating a business

F°r last calendar yeah m §Voa`gj:se,$c<t)immissions, 38532 n Wages, commissions
, ps $ bonuses, tips

l
(January 1 to December 31. M_) n Operating a business n Operating a business
YYYv

F°l, the calendar year before that l;l Wages, commissions, n Wages, oommissions,

' bonuses, tips $ 0 bonuses, tips

(January 1 to December 31- `___) a Operating a business n Operating a business

5. Did you receive any other income during this year or the tviro previous calendar years?

Gross lncome

(before deductions and
exclusions)

$0

 

$0

 

include income regardless of whether that income is taxable Examples of other income are alimony; child support; Social Security,
unemployment and other public benefit payments; pensions; rental income; interest; dividends; money collected from lawsuits; royalties; and
gambling and lottery winnings. lf you are filing a joint case and you have income that you received together, list it only once under Debtor 1.

List each source and the gross income from each source separately Do not include income that you listed in line 4.

§,UNo

lll]"Yes. Fiii in the details

Debtor ‘l DebwrZ
Sources of lncome Gross income from Sources of lncome
Describe beiow. each S°ur<=e prescribe below.
(before deductions and
exciusions)

From January 1 of current year until " $ 0
the date you filed for bankruptcy:

 

 

For last calendar year: _` $ 0

(January 1 to December 31 , ) _`__ $

§

 

Gross lncome from
each source

(before deductions and
exclusions)

 

 

 

 

 

 

 

 

$ s
For the calendar year before that: $ 0 $ 0
(January 1 to December 31, >
YYYY
Ofticial Form 107 Statement of Financial Affairs for lndividuals Filing for Bankmptcy page 2

 

 

 

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Debtor 1 Lillda D Hal`t Case number (irknown)
F`lrst Name Middle Name Last Name

mfg certain Payments You Made Before ¥ou Filed for Bankmptcy

 

6. Are either Debtor 1’s or Debtor 2’s debts primarily consumer debts?
fn No. Neither Debtor 1 nor Debtor 2 has primarily consumer debts Consumer debts are defined in 11 U.S.C. § 101(8) as
“incurred by an individual primarily for a persona|, family, or household purpose.”
During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $6,425* or more?

El No. Go io line 7_

n Yes. List below each creditor to whom you paid a total of $6,425* or more in one or more payments and the
total amount you paid that creditor. Do not include payments for domestic support obligations, such as
child support and alimony. Also, do not include payments to an attomey for this bankruptcy case.

* Subject to adjustment on 4/01/19 and every 3 years after that for cases Eled on or after the date of adjustment

iii Yes. Debtor 1 or Debtor 2 or both have primarily consumer debts.
During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $600 or more?

1b No. Go to line 7.

§ Yes. List below each creditor to whom you paid a total of $600 or more and the total amount you paid that
creditor. Do not include payments for domestic support obligations such as child support and
alimony_ Alsol do not include payments to an attorney for this bankruptcy case.

 

 

 

 

 

 

 

 

 

 

 

 

 

Dates of Total amount paid Amount you stlll owe Was this payment for...
Paymenf
. $ $ n Mortgage
Credltor’s Name
n Car
Number Street n Cl'edit Card
n Loan repayment
m Supp|iers or vendors
City State ZlP code |;l Other
$ $ m Mortgage
Creditor’s Name
a Car
Number Street n Credit card
m Loan repayment
n Supp|iers or vendors
Ciiy State zlP code n Other
$ $ n Mortgage
Creditor’s Name
n Car
Number Street m Credit card

 

n Loan repayment

 

 

n Suppliers cr vendors

n Other

 

City State Z|P Code

Ofticial Form 107 Statement of Financial Affairs for lndividuals Fi|ing for Bankmptcy page 3

 

 

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Debtor 1 Lil'lda D Hart Case number (irknown)
Firsi Name Middle Name Last Name

 

7_ Within 1 year before you filed for bankruptcy, did you make a payment on a debt you owed anyone who was an insider?
Insiders include your reiatives; any general partners; relatives of any general partners; partnerships of which you are a general partner;
corporations of which you are an officer, director, person in control, or owner of 20% or more of their voting securities; and any managing
agent, including one for a business you operate as a sole proprietor 11 U.StC. § 101_ include payments for domestic support obiigations,
such as child support and alimony.

@No

ja Yes. List all payments to an insider.

 

 

 

 

 

Dates of Total amount Amount you still Reason for this payment
payment paid owe
_ $ $
insider’s Name
Number Street
City State ZlP code
$ $

 

insider's Name

 

Number Street

 

 

 

city _ state zlP code

8. Within 1 year before you filed for bankruptcy, did you make any payments or transfer any property on account of a debt that benefited
an insider?

include payments on debts guaranteed or cosigned by an insider.

UNO

m Yes. List all payments that benefited an insider.

 

 

 

 

 

Dates of Total amount Amount you still Reason for this payment
payment pa|d owe include creditor’s name
lnsider’s Name $ $
Number Street
city State zlP Code
$ $

 

insider's Name

 

Number Street

 

 

 

city State zlP code

Officiai Form 107 Statement of Financial Affairs for individuals Filing for Bankruptcy page 4

 

 

 

Debtor 1 Linda D

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Hart

Case number (ifrmawn)

 

Firsl Name

Middle Name

Las\ Name

m ldentify Legal Actions, Repossessions, and Foreclosures

9. Within 1 year before you filed for bankruptcy, were you a party in any lawsuit, court action, or administrative proceeding?
List ali such matters including personal injury cases, small claims actions, divorces, collection suits, paternity actions, support or custody modifications

and contract disputes.

@~No

§U Yes Fili in the details

Case title

 

 

Case number

Case title

 

 

 

 

Case number

 

 

Nature of the case Court or agency Status of the case

Cmm Name n Pendlng

cl On appeal
Number Street m Concluded
City State Z|P Code
Court Name n Pendmg

Cl on appeal
Number Street g Concluded
city State ziP code

10. Within 1 year before you filed for bankruptcy, was any of your property repossessed, foreclosed, garnished, attached, seized, or levied?
Check ali that apply and fill in the details beiow.

§ No, Go to line 11.

i”L=.l~ Yes Fill in the information beinw_

 

 

 

 

Value of the property

Value of the property

 

 

 

 

 

Describe the property Date
Creditol’s Name
Number Street Expiain what happened

n Property was repossessed .

n Property was foreclosed.

ij Property was gamished.
city slate zlP cade cl Property was attached, seized, or ievied.

Descrlbe the property Date
Creditor’s Name
Number Stneet

Explain what happened

El Property was repossessed,

cl Property was foreclosed.
City mate zlP Code m Property was gamlshed.

n Property was attached, seized, or ievied.

Officia| Form 107

Statement of Financial Affairs for individuals Filing for Bankmptcy

page 5

 

 

 

 

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Debtor 1 Linda D Hart Case number (ir known)
Fil'S\ Name Middle Name LaSi Name

11. Within 90 days before you filed for bankruptcy, did any creditor, including a bank or financial institution, set off any amounts from your
accounts or refuse to make a payment because you owed a debt?

MNO

L_.l Yes. Fill in the details

 

 

 

 

 

Descrlbe the action the creditor took Date action Amount
was taken
Creditor`s Name
$
Number Street
City State Z|P C‘>de Last 4 digits of account number: XXXX`

12. Within 1 year before you filed for bankruptcy, was any of your property in the possession of an assignee for the benefit of
creditors, a court-appointed receiver, a custodian, or another officia|?

1a No
L_.l Yes

List Certain Gifts and contributions

 

13.Within 2 years before you filed for bankruptcy, did you give any gifts with a total value of more than $600 per person?

MNQ

Cl Yes Fill in the details for each girt.

G|fts with a total value of more than $600 Descrlbe the gifts Dates you gave Value
per person the gifts

 

Person to Whom You Gave the Gift

 

 

Number Street

 

city State zlP code

Person’s relationship to you

Gifts with a total value of more than $600 Descrlbe the gifts Dates you gave Value
per person the gifts

 

Person to Whom You Gave the Gilt

 

 

Number Street

 

City State Z|P Code

Person’s relationship to you

Officiai Form 107 Statement of Financial Affairs for individuals Filing for Bankmptcy page 6

 

 

 

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Debtor 1 Li!lda D Hart Case number (ifknown)
FirS\ Name Middle Name LBS¥ Name

14.Within 2 years before you filed for bankruptcy, did you give any gifts or contributions with a total value of more than $600 to any charity?

mNo

El Yes. Fill in the details for each gift or contribution.

Gifts or contributions to charities Descrlbe what you contributed Date you Value
that total more than $600 contributed

 

Charity’s Name

 

 

Number Street

 

City State Z|P Code

mist Certain Losses

 

15. Within 1 year before you filed for bankruptcy or since you filed for bankruptcy, did you lose anything because of theft, fire, other
disaster, or gambling?

ENO

[U Yes Fill in the details

Descrlbe the property you lost and Describe any insurance coverage for the loss Date of your Value of property

how the loss occurred _ loss lost
include the amount that insurance has paid. List pending insurance

claims on line 33 of Schedule A/B: Property.

must Certain Payments or Transfers

 

,' 16. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behaif pay or transfer any property to anyone
you consulted about seeking bankruptcy or preparing a bankruptcy petition?
include any attomeys, bankruptcy petition preparers, or credit counseling agencies for services required in your bankruptcy.

ENQ

i'ij' Yes Fill in the details

 

 

 

 

 

 

 

 

Descriptlon and value of any property transferred Date payment or Amount of payment
transfer was

Person Who Was Paid made

Number Street $
$

City State ZlP Code

Email or webs`ite address

Person Who Made the Payment, if Not You

Offlcial Form 107 Statement of Financial Affairs for lndividuals Filing for Bankruptcy page 7

 

 

 

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Debtor 1 Linda D Hart Case number (irknown)
FirSt Name Middle Name LBS\ Name

Descriptlon and value of any property transferred Date payment or Amount of
transfer was made payment

 

Person Who Was Paid

 

Number Street

 

 

City State Z|P Code

 

Email or website address

 

Person Who Made the Payment, if Not You

11. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone who
promised to help you deal with your creditors or to make payments to your creditors?
Do not include any paymenth transfer that you listed on line 16.

MNo

El Yes. Fill in the details

 

 

 

Description and value of any property transfen'ed Date payment or Amount of payment
transfer was
made
Person Who Was Paid
Number Street $
$

 

City State Z|P Code

18. Within 2 years before you filed for bankmptcy, did you sell, trade, or otherwise transfer any property to anyone, other than property
transferred in the ordinary course of your business or financial affairs?
include both outright transfers and transfers made as security (such as the granting of a security interest or mortgage on your property).
Do not include gifts and transfers that you have already listed on this statement

1a- No
EYes. Fill in the details.

 

 

 

 

 

 

 

 

Descriptlon and value of property Descrlbe any property or payments received Date transfer
transferred or debts paid in exchange was made

Person Who Received 'fransfer

Number Street

City State zlP code

Person’s relationship to you

Person Who Reoeived Transfer

Number Street

City Smie zlP Code

Person’s relationship to you

Official Form 107 Statement of Financial Affairs for individuals Filing for Bankmptcy page 8

 

 

 

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Debtor 1 Lillda D Hal’t Case number (ilkm>wn)
Fif§\ N‘Bl’i’le Middle Name LRS\ Name

19.Within 10 years before you filed for bankruptcy, did you transfer any property to a self-settled trust or similar device of which you
are a beneficiary? (These are often called asset-protection devices.)

HNo

El Yes Fill in the details

Descrlptlon and value of ttie property transferred Date transfer
was made

Name of trust

 

met certain Financial Aocounts, lnstruments, Safe Deposit Boxes, and Storage units

' 20. Within 1 year before you filed for bankruptcy, were any financial accounts or instruments held in your name, or for your benefit,
" closed, sold, moved, or transferred?
lnc|ude checking, savings, money market, or other financial accounts; certificates of deposit; shares in banks, credit unions,
brokerage houses, pension funds, cooperatives, associations, and other financial institutions

UNo

DYes Fill in the details

 

 

Last 4 digits of account number Type of account or Date account was Last balance before
lnstrument closed, sold, moved, closing or transfer
or transferred
Name of Financial institution
xxxx.._ ___ __ __ El checking h $
n Savings

Number Street
n Money market

 

n Brokerage

 

 

 

 

city state zlP code n other
XXXX_ El checking 5
Name of Financial Institution __
n Savings
Number Street n Money market
n Brokerage
n Other

 

city state zlP code

21. Do you now have, or did you have within 1 year before you filed for bankruptcy, any safe deposit box or other depository for
securities, cash, or other valuables?

§ No
I'U ves Fiii in the details

 

 

 

 

 

 

 

Who else had access to it? Descrlbe the contents Do you still

have lt?
n No

Name of Financial institution Name n Yes

Number Street Number guest

city state zlP code
city state zip code
Ofiicial Form 107 Statement of Financial Affairs for lndividuals Filing for Bankruptcy l page 9

 

 

 

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Debtor 1 Linda D Hart Case number (irtnewn)
net Name Middle Name test Name

5 22. Have you stored property in a storage unit or place other than your home within 1 year before you filed for bankruptcy?
' No
El Yes Fiii in the details

 

 

Who else has or had access to it? Descrlbe the contents Do you still
have it?
n No
Name of Storage Facility Name n Yes
Number Street Number Street

 

citysiaw ziP cede

 

city state zlP code

identify Property ¥ou Hoid or Control for Someone Else

 

` 23. Do you hold or control any property that someone else owns? include any property you borrowed from, are storing for,
or hold in trust for someone.
ii No
in Yes. Fill in the details
Where is the property? Descrlbe the property Value

 

Owner's Name s

 

Number Stfeet

 

Number Street

 

 

 

City State ZlP Code

 

City State ZlP Code

mike Detafls About Envlronmental lnformatlon

For the purpose of Part 10, the following definitions apply:

I Environmental law means any federal, state, or local statute or regulation concerning pollution, contamination, releases of
hazardous or toxic substances, wastes, or material into the air, land, soil, surface water, groundwater, or other medium,
including statutes or regulations controlling the cleanup of these substances, wastes, or material.

l Site means any location, facility, or property as defined under any environmental law, whether you now own, operate, or
utilize it or used to own, operate, or utilize it, including disposal sites.

l Hazardous material means anything an environmental law defines as a hazardous waste, hazardous substance, toxic
substance, hazardous material, pollutant, contaminant, or similar tenn.

Report all notices, releases, and proceedings that you know about, regardless of when they occurred.

24. Has any governmental unit notified you that you may be liable or potentially liable under or in violation of an environmental law?

HN°

El ves Fill in the details

 

 

 

 

Govemmental unit Envlronmental law, if you know lt Date of notice
Name of site Govemmentai unit
Number Straet Number Sheet
city state zlP code
city stats zlP code
Ofiiciai Form 107 Statement of Financial Affairs for individuals Filing for Bankruptcy page 10

 

 

 

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Debtor 1 Linda D Hart Case number (irlmdwn>
First Name Middie Name ~ Last Name

25. Have you notified any governmental unit of any release of hazardous material?

ENo

El Yes Fill in the details

 

 

 

Govemmental unit Envlronmental law, if you know it Date of notice
Nama of site Govemmantai unit
Number Straet Number Street
City State ZlP Code

 

city state ziF code

26. Have you been a party in anyjudicia| or administrative proceeding under any environmental law? include settlements and orders.

mNo

Ei Yes Fill in the details

 

 

 

 

 

 

court °r agency Nature of the case Stat“s °' the
case
Case title m
Court Name Pending
n On appeal
Number Street n Conc|uded
case number City state zlP cede

m@lve Dotalls About Your Business or Connections to Any Business

27. Within 4 years before you filed for bankruptcy, did you own a business or have any of the following connections to any business?
n A sole proprietor or self-employed in a trade, profession, or other activity, either full-time or part-time
n A member of a limited liability company (LLC) or limited liability partnership (LLP)
n A partner in a partnership
a An officer, director, or managing executive of a corporation

cl An owner of at least 5% of the voting or equity securities of a corporation

@ No. None of the above applies. Go to Part 12.
ci Yes. Check all that apply above and fill in the details below for each business.
Descrlbe the nature of the business Employer identification number
Do not include Social Security number or lTlN.

 

Business Name

ElN: -

 

Number Sh'eet
Name of accountant or bookkeeper Dates business existed

 

From To

 

city state zlP code
Descrlbe the nature of the business Employer identmcation number
Do not include Social Security number or l`iiN.

 

Business Name

ElN: -

 

Number Street
Name of accountant or bookkeeper Dates business existed

 

From To

 

City State Z|P Code

Officia| Form 107 Statement of Financial Affairs for individuals Filing for Bankruptcy page 11

 

 

 

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Debtor 1 Li”da D Hal't Case number (irknewn)
First Name Middle Name Last Name

 

Employer identification number
Do not include Social Security number or lTlN.

Descrlbe the nature of the business

 

Business Name

 

 

ElN:_____-___________
N"'""°' st'°°t Name of accountant or bookkeeper Dafes business eX|S*ed
From __ To

 

City State ZlP Code

28. Within 2 years before you filed for bankruptcy, did you give a financial statement to anyone about your business? include ali financial
institutions, creditors, or other parties.

mNo

Ei Yes Fill in the details beiew.

Date issued

 

Name iiirli l on l Yva

 

Number Stlaet

 

 

city state zlP code

i have read the answers on this Statement of Financial Affairs and any attachments and l declare under penalty of perjury that the
answers are true and correct. l understand that making a false statement, concealing property, or obtaining money or property by fraud
in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both.

18 U.S.C. §§ 152, 1341, 1519, and 3571.

(¢, )

/Z¢/¢/ \_ x

/t/Slgnature of Debtor 1 Signature of Debtor 2

  
   

¢

Date Date
Did you attach additional pages to Your Statement of Financial Affairs for lndividuals Filing for Bankmptcy (Official Form 107)?

ri No
n Yes

Did you pay or agree to pay someone who is not an attorney to help you fill out bankruptcy forms?
l:l No

cl Yes. Name of person . Attach the Bankmptcy Petition Preparer’s Notice,
Declaration, and Signature (Official Form 119).

Ochial Form 107 Statement of Financial Affairs for individuals Filing for Bankruptcy page 12

 

 

 

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Fiii in this information to identify your case: *;"
_
Debtor 1 Llnda D Hart
Flrsl Name Middle Name Last Name ‘ n _
\ trw h §"7? wl ‘“
Demorz {;,'_:V §{f:;~; §§ me w

 

 

(Spouse, if filing) Firsl Name Middle Name Lasl Name

 
 

United States Bankmptcy Courtfor the: District of MARYLAND 12 Q'

x eckift ls is an
amended filing

 

 

Case number m known) G\“\E §§ i°i t..:

 

Oflicia| Form 1068um

Summary of Your Assets and Liabilities and Certain Statistical information 12/15

 

Be as complete and accurate as possible. lf two married people are filing together, both are equally responsible for supplying correct
information. Fill out all of your schedules first; then complete the information on this form. lf you are filing amended schedules after you tile
your original forms, you must fill out a new Summary and check the box at the top of this page.

m:ummarize Your Assets

Your assets
Value of what you own

1. Schedule A/B: Property(Oflicial Form 106A/B)
1e. copy line 55, rural real estate from schedule A/B .......................................................................................................... $ 0

1b. Copy line 62, Total personal property, from Schedule A/B ............................................................................................... $ 7750

 

1c. Copy line 63, Tota| of all property on Schedule A/B .........................................................................................................

m Summarize Your Liabilities

$ 7750

 

 

 

Your liabilities
Amount you owe
2. Schedule D: Creditors Who Have Claims Seculed by Property (Official Form 106D)
2a. Copy the total you listed in Column A, Amount of claim, at the bottom of the last page of Part 1 of Schedule D ............ 5 0

3. Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 106E/F)

 

 

 

 

 

3a. Copy the total claims from Palt 1 (priority unsecured claims) from line 6a of Schedule E/F ............................................ $ 0
3b_ Copy the total claims from Part 2 (nonpriority unsecured claims) from line 6j of Schedule E/F ....................................... + $ 26730
Your lotal liabilities s 26730
mummadze Your lncome and Expenses

4. Schedule I: Your/noome (Official Form 106|)

Copy your combined monthly income from line 12 of Schedulel .......................................................................................... $ 1936
5. Schedule J: Your Expenses (Offlcial Form 106J)

Copy your monthly expenses from line 220 of Schedule J ............................................ ` ........................................................ $ 2060

Ofiicia| Form 1068um Summary of Your Assets and Liabilities and Certain Statistical information page 1 of 2

 

 

 

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Debtor 1 Lillda D Hf\l`f Case number iii knnwn)
rim Name Middle Name l_nsl Name

mimswer These Questions for Administrative and Statistical Records

 

6. Are you filing for bankruptcy under Chapters 7, 11, or 13?
- o. You have nothing to report on this part of the form. Check this box and submit this form to the court with your other schedules
\/ es

7. What kind of debt do you have?

EYour debts are primarily consumer debts. Consumer debts are those “incurred by an individual primarily for a personal,
family, or household purpose_” 11 U.S.C. § 101(8). Fill out lines 8-99 for statistical purposes. 28 U.S.C. § 159.

n Your debts are not primarily consumer debts. You have nothing to report on this part of the forrn. Check this box and submit
this form to the court with your other schedules.

 

8. From the Statement of Your Current Monthly lncome: Copy your total current monthly income from Official
Form 122A-1 Line 11; OR, Forrrl 122B Line 11; OR, Form 1220-1 Line 14. $ 2964

 

 

 

9_ Copy the following special categories of claims from Part 4, line 6 of Schedule E/F:

 

Total claim
From Part 4 on Schedule E/F, copy the following:

9a Domestic support obligations (Copy line 6a.) $ 0

9b_ Taxes and certain other debts you owe the govemment. (Copy line 6b_) $ 0
9c. Claims for death or personal injury while you were intoxicated (Copy line 6c.) $ 0
gd. student ioane. (copy line sr.) $ 0
9e. Obligations arising out_ of a separation agreement or divorce that you did not report as $ 0

pnonty claims. (Copy line 69.)

9f. Debts to pension or profit-sharing plans, and other similar debts. (Copy line 6h.) + $ 0
99. Total. Add lines ga through 9f. 3 0

 

 

 

Ofiicia| Form 1068um Summary of Your Assets and Liabilities and Certain Statistical lnformation page 2 of 2

 

 

Case 19-13685 DOC 1 Filed 03/20/19 Page 23 Of 60

Fill in this information to identify your case and this filing:

Deblor 1 linda D

Fifsi Name Middle Name

Debior 2
(Spouse. if fliing) First Mme Middle Name Lasl Name

 

united states Bankmptcy court for inez Disiriot of MARYLAND

Case number

 

Cl cheek ifthle is an
amended filing

 

 

Ofl`lcial Form 106A/B
Schedl.lle A/B: Property 12/15

in each category, separately list and describe items. List an asset only once. if an asset fits in more than one category, list the asset in the
category where you think it fits best. Be as complete and accurate as possible. if two married people are filing together, both are equally
responsible for supplying correct information. if more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write your name and case number (if known). Answer every question.

 

muribe Each Residence, Building, Land, or other Reai Estate You 0wn or Have an interest in

1. Do you own or have any legal or equitable interest in any residence, building, land, or similar property?

No. co to Part 2.
n Yes. Where is the property?

' 7
what ls the property ' Check all that apply' Do not deduct secured claims or exemptions Put
n Single-family home the amount of any secured claims on Schedule D:

 

 

 

 

1_1_ ._ . . . Creditols Who Have Claims Secured by Property.

Slreet address, if available, or other description m Dup|ex Or _mum umt bul|d"_\g
cl COndOmln'Um Of COODerat'V€ Current value of the Current value of the
m Manufactured or mobile home entire property? portion you own?
m Land $ $
n investment property

_ a Timeshare Descrlbe the nature of your ownership
C'W State Z|P Code n Other interest (such as fee simple, tenancy by

 

the entireties, or a life estate), if known.
Who has an interest in the property? Check one.

0 Debior1 only

County n Debtor2 only . _ '
n Deth|.1 and Debtor 2 On|y |;l Check lf this ls community property

n At least one of the debtors and another (see mstructlons)

Other information you wish to add about this item, such as local
property identification number:

 

 

 

lf you own or have more than one, list here:

what ls the propel n ' Check an that app|y` Do not deduct secured claims or exemptions Put
m Single-family home the amount of any secured claims on Schedule D:

 

 

 

 

 

1_2_ ._ . . . Creditols Who Have Claims Secured by Pmperty.

street address if available or oiner description n Dup'ex ?r_mum u"‘t bu"d"_‘g
n COndOmlnlum Or COOp€"af'Ve Current value of the Current value of the
m Manufactured or mobile home entire property? portion you own?
cl Land $ $
a investment property

. Descrlbe the nature of your ownership
. T ha
City State ZlP Code g 'mes re interest (such as fee simple, tenancy by
Othe" the entireties, or a life estafie), if known.

Who has an interest in the property? Check one,
n Debtor 1 only

 

 

County m Debtor 2 only
cl Dethr1 and D€thr 2 On|y a Check if this is community property
a At least one of the debtors and another (See inSUUCfionS)

Other information you wish to add about this item, such as local
property identification number:

 

Oflicial Form 106A/B Schedule AIB: Property page 1

 

 

 

 

Case 19-13685 Doc 1

 

 

 

 

 

 

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Dethr 1 Linda D Hart Case number (inrnewn)
First Name Middle Name Last Name
What is the Pr°Pel`tY? Che€k an that aPP'y- Do not deduct secured claims or exemptions Put
- _ - the amount of any secured claims on Schedule D:
1.3. n S'"g'e fa""'y home _ creditors who Have claims secured by Property
Sireet address, if available, or other description n Dup|ex or multi-unit building
n Condominium or cooperative Current value of the Current value of the
m Manufactured or mobile home entire property? portion you own?
n Land $ $
cl investment property h
. Describe the nature of your owners ip
C'ty State zlP Code n T'meshare interest (such as fee simple, tenancy by
m 0""9' the entireties, or a life estate), if known.
Who has an interest in the property? Check one.
n Debtor 1 only
County n Debtor 2 only
n Debtor 1 and Debtor 2 only n Chec_k if this is Commul'\ity Property
cl At least one of the debtors and another (See mstmct'ons)
Other information you wish to add about this item, such as local
property identification number:
2. Add the dollar value of the portion you own for all of your entries from Part 1, including any entries for pages $ 0
you have attached for Part 1. Write that number here. ...................................................................................... 9

m Describe Your Vehicles

 

 

 

Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? lnc|ude any vehicles
you own that someone else drives lf you lease a vehicle, also report it on Schedule G: Executory Contracts and Unexpired Leases.

3_ Cars, vans, trucks, tractors, sport utility vehicles, motorcycles

@No

in Yes
3_1_ Make:
Mode|:
Year.

Approximate mileage:

Other information:

 

|f you own or have more than one, describe here:

3_2_ Make:
Model:
Year:
Approximate mileage:

Other information:

 

Oflicial Form 106A/B

Who has an interest in the property? Check one.
n Debtor 1 only

n Debtor 2 only

n Debtoi'1 and Debtor 2 only

m At least one of the debtors and another

m Check if this is community property (see
instructions)

Who has an interest in the property? Check one.
n Debtor 1 only

n Debtor 2 only

Cl Debior 1 end Debior 2 only

n At least one of the debtors and another

E] Check if this is community property (see
instructions)

Schedule AIB: Property

Do not deduct secured claims or exemptions Put
the amount of any secured claims on Schedule D:
Creditors Who Have Claims Secured by Property.

Current value of the Current value of the
entire property? portion you own?

Do not deduct secured claims or exemptions Put
the amount of any secured claims on Schedule D:
Creditors Who Have Claims Secured by Pmperty.

Current value of the Current value of the
entj;pe property? portion you own?

page 2

 

 

 

Case 19-13685 Doc 1

 

Debtor 1 Linda D Hart Case number (ilknown)
First Name Middle Name
3 3 Make: Who has an interest in the property? Check one.
Mode|- EDebtor 1 only
Y UDebtor 2 only
ear:

Approximate mileage:

Other information:

 

)
l

i

 

3_4_ Make:
Mode|:
Year:
Approximate mileage:

Other infonnation:

 

l
i
l

2 m

 

Debtor 1 and Debtor 2 only
At least one of the debtors and another

n Check if this is community property (see
instructions)

Who has an interest in the property? Check one.

E Debtor 1 only

E Debtor 2 only

1[€|: Debtor 1 and Debtor 2 only
L_.l

At least one of the debtors and another

n Check if this is community property (see
instructions)

Filed 03/20/19 Page 25 Of 60

 

Do not deduct secured claims or exemptions Put
the amount of any secured claims on Schedule D:
Creditors Who Have Claims Secured by Ploperty.

Current value of the Current value of the
entire property? portion you own?

Do not deduct secured claims or exemptions Put
the amount of any secured claims on Schedule D:
Creditors Who Have Claims Secured by Property.

Current value of the Current value of the
entire property? portion you own?

4_ Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories

Examples: Boats, trailers, motors, personal watercraft, fishing vesse|s, snowmobiles, motorcycle accessories

iam No

m Yes

4_1_ Make:
Model:
Year:

Other inforrnation:

1
l
i
l

 

lf you own or have more than one, list here:

4_2_ Make:
Model:

Year:

 

Who has an interest in the property? Check one.

n Debtor1 only

n Debtor 2 only

El Debtor1 and Debior 2 only

n At least one of the debtors and another

n Check if this is community property (see
instructions)

Who has an interest in the property? Check one,

Cl Debtor1 only
l;l Debtor 2 only
m Debtor1 and Debtor 2 only

Do not deduct secured claims or exemptions Put
the amount of any secured claims on Schedule D:
Creditors Who Have Claims Secured by Propen‘y.

Current value of the Current value of the
entire property? portion you own?

Do not deduct secured claims or exemptions Put
the amount of any secured claims on Schedule D:
Creditors Who Have Claims Secured by Property.

Current value of the Current value of the

 

 

 

 

. . _ entire property? portion ou own?
gther mf°"mat'°"- n At least one of the debtors and another y
§ El Check if this is community property (see $ $
instructions)
5. Add the dollar value of the portion you own for all of your entries from Part 2, including any entries for pages 0
you have attached for Part 2. Write that number here ')

Ofiicial Form 106A/B

Schedule AIB: Property

 

 

 

page 3

 

Case 19-13685 DOC 1 Filed 03/20/19 Page 26 Of 60

Debtor 1 Linda D Hal't

Flrst Name Middle Name Last Name

Case number (ifknown)

Describe Your Personal and Household ltems

Do you own or have any legal or equitable interest in any of the following items?

6. Household goods and fumishings
Examples: Major appliances, fumiture, linens, china, kitchenware
E No
m Yes~ Describe ~~~~~~~~ Bedroom Living And Kitchen Fur - 3228 Burton Ct

7. Electronics

Examples: Te|evisions and radios; audio, video, stereo, and digital equipment; computers, pn'nters, scanners; music
oo|lections; electronic devices including cell phones, cameras, media players, games
E No

m Yes. DeSCrlbe .......... Laptop,tv , _ 3228 Bul_ton Ct

8. Collectibles of value

Examples: Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects;
{__ stamp, coin, or baseball card collections; other collections, memorabilia, collectibles
m No

m Yes. Describe ..........

9. Equipment for sports and hobbies

Examples: Sports, photographic, exercise, and other hobby equipment; bicycles, pool tables, golf clubs, skis; canoes
and kayaks; carpentry tools; musical instruments
§ No

l_El Yes. Describe ..........

10. Firearms
Examples: Pistols, rifles, shotguns, ammunition, and related equipment
No
m Yes. Describe .......... '

1 1 . Clothes
Examples: Everyday clothes, furs, leather coats, designer wear, shoes, accessories

ENQ

m Yes- Desc"'be ---------- Ciom¢s shoes - 3228 Bur¢on Ct
12.Jewe|ry
Examples: Everydayjewelry, costume jewelry, engagement rings, wedding rings, heirloom jewelry, watches, gems,
gold, silver

MNO

m Yes. Describe ...........

13. Non-farm animals
Examples: Dogs, cats, birds, horses

ENO

m Yes. Describe ...........

14.Any other personal and household items you did not already list, including any health aids you did not list

HNO

EYes. Give specific
information. ..............

15, Add the dollar value of all of your entries from Part 3, including any entries for pages you have attached
for Part 3. Write that number here .....

Current value of the
portion you own?

 

 

 

Oflicial Form 106A/B

Schedule AIB: Property

 

Do not deduct secured claims
or exemptions

$ 4500

$ 1000

$
l $

$

$ 1200
l $
` $

$

$ 7300

page 4

 

 

 

 

 

 

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Debtor 1 Linda D Hart Case number tirkmwn)
First Name Middle Name Last Name
m Describe Your Financial Assets
Do you own or have any legal or equitable interest in any of the following? Current Value °f the
portion you own?
Do not deduct secured claims
or exemptions
16. Cash
Examples: Money you have in your wallet, in your home, in a safe deposit box, and on hand when you tile your petition
im No
m- Yes Cash: ....................... $

17. Deposits of money
Examples: Checking, savings, or other tinancial accounts; certificates of deposit; shares in credit unions, brokerage houses,
and other similar institutions lt you have multiple accounts with the same institution, list each,

i~l:~l No
Yes ..................... lnstitution name:

17.1. Checking account Bank Acc°'mt ' § §§ C $ 450
$

17.2. Checking account:

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

17.3. Savings acoount: $
17.4. Savings account $
17.5. Certificates of deposit; $
17.6. Other hnancial acoount: $
17.7. Other financial acoount: $
17.8. Other financial account $
17.9. Other linancia| account $

 

18. Bonds, mutual funds, or publicly traded stocks
Examples: Bond funds, investment accounts with brokerage tirms, money market accounts

 

 

 

im No
m Yes ................. lnstitution or issuer name:
$
$
$

 

 

19. Non-publicly traded stock and interests in incorporated and unincorporated businesses, including an interest in
an LLC, partnership, and joint venture

 

M No Name of entity: % of ownership:
EYes. Give specific %
information about
them %

 

%

____`,
_..`_
`_

Official Form 106A/B Schedule AlB: Property page 5

 

 

 

 

Case 19-13685 DOC 1 Filed 03/20/19 Page 28 Of 60

Debtor 1 Lillda D Hal‘t Case number (ir kmwn)
Frrst Name Middle Name Last Name

20. Govemment and corporate bonds and other negotiable and non-negotiable instruments

Negotiable instruments include personal checks, cashiers' checks, promissory notes, and money orders.
Non-negotiable instn/ments are those you cannot transfer to someone by signing or delivering them.

ENo

EYes. Give specific issuer namer
information about
them .......................

 

 

 

21. Retirement or pension accounts
Examples: lnterests in lRA, ERlSA, Keogh, 401 (k), 403(b), thrift savings accounts, or other pension or profit-shaan plans

 

 

 

 

 

Additiona| account

 

iad No
iii Yes. List each
account separately Type of account lnstitution name:
401(k) or similar plan: $_`__
Pension plan: $
|RA: $
Retirement account $
Keogh: $
$
$

Additional account

 

22. Security deposits and prepayments
Your share of all unused deposits you have made so that you may continue service or use from a company

Examples:Agreements with landlords, prepaid rent, public utilities (electric, gas, water), telecommunications
companies, or others

im No
m Yes .......................... lnstitution name or individual:

Electl"lc:

 

Gas:

 

Heating oil:

 

Security deposit on rental unit:

 

Prepaid rent

 

Telephone:

 

Water:

 

Rented fumiture:

 

Othen

 

23. Annuities (A contract for a periodic payment of money to you, either for life or for a number of years)

MNo

iii Yes .......................... issuer name and description:

 

 

 

Ofticial Form 106A/B Schedule AIB: Property

 

6)$

 

ll lllllllll

l

page 6

 

 

Case 19-13685 DOC 1 Filed 03/20/19 Page 29 Of 60

Debtor 1 linda D Hart Case number (irkmn)
First Name Midd!e Name Last Name

24. |nterests in an education |RA1 in an account in a qualified ABLE program, or under a qualified state tuition program.
26 U.S.C. §§ 530(b)(1), 529A(b), and 529(b)(1).

 

 

 

 

 

 

 

No
m Yes """""""""""""""""""" lnstitution name and description Separately file the records of any interests.11 U.S.C. § 521(c):
$
$
25. Trusts, equitable or fixture interests in property (other than anything listed in line 1), and rights or powers
exercisable for your benefit
ii No
iii Yes. Give specific
information about them....y $
26. Patents, copyrights, trademarks, trade secrets, and other intellectual property
Examples: lntemet domain names, websites, proceeds from royalties and licensing agreements
ml No
!,_El Yes. Give specific `
information about them.... $
27. Licenses, franchises, and other general intangibles
Examples: Bui|ding permits, exclusive licenses, cooperative association holdings, liquor licenses, professional licenses
ii No
nj Yes. Give specific
information about them.... $
Money °F Property owed t° y°u? Current value of the
portion you own?
Do not deduct secured
claims or exemptions

28_Tax refunds owed to you

ENO

|_U_ Yes. Give specific information
about them, including whether
you already filed the returns ~ Siate:
and the tax years. .......................

Federal:
Local:

29. Fami|y support
Examples: Past due or lump sum alimony, spousal support, child support, maintenance, divorce settlement property settlement
No
m Yes. Give specific information ..............

 

 

 

 

A|imony: $
Maintenance: $
Support: $
' Divorce settlement $
Property settlement $

 

30. Other amounts someone owes you
Examples: Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay, workers’ compensation,
Social Security benefits; unpaid loans you made to someone else
m No

m Yes. Give specinc information ............... `

Official Form 106A/B Schedule AIB: Property page 7

 

 

 

Case 19-13685 DOC 1 Filed 03/20/19 Page 30 Of 60

Debtor 1 Linda D Hart Case number (if known

First Name Middle Name Last Name

31. |nterests in insurance policies
Examples: Health, disability, or life insurance; health savings account (HSA); credit, homeowner’s, or renter’s insurance

mNo

m Yes' Name the insurance company Company name: Beneficiary: Surrender or refund value:
of each policy and list its value_

 

 

 

32. Any interest in property that is due you from someone who has died
lf you are the beneficiary of a living tmst, expect proceeds from a life insurance policy, or are currently entitled to receive
property because someone has died.
m No
,._.

§ n Yes. Give specific information ..............

$
33. C|aims against third parties, whether or not you have filed a lawsuit or made a demand for payment
Examples: Accidents, employment disputes, insurance claims, or rights to sue
ia No
iii Yes. Describe each claim. ....................
$

 

34_ Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and rights
to set off claims

@No

m Yes. Describe each claim. ....................

35.Any financial assets you did not already list

MNQ

 

 

 

m Yes. Give specific information ............ s
36. Add the dollar value of all of your entries from Part 4, including any entries for pages you have attached 450
for Part 4. Write that number here ') $

 

 

 

 

m Describe Any Business-Related Property You Own or Have an lnterest ln. List any real estate in Part 1.

 

37. Do you own or have any legal or equitable interest ln any business-related property?
JT No_ co to Pan 6.
i_ET Yes. co to line 38_

Current value of the
portion you own?

Do not deduct secured claims
or exemptions

38_Accounts receivable or commissions you already earned
ii No
id Yes. Describe .......

39. Office equipment, furnishings, and supplies
Examples: Business-related computers, software, modems, printers, copiers, fax machines, rugs, telephones, desks, chairs, electronic devices

ENo

EYes.Describe ....... 2 y 4 y 2 q ` w v "$

Oflicial Form 106A/B Schedule AIB: Property page 8

 

 

 

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Debtor 1 Linda D Hart Case number (irl¢nown)
l-`lrsl Name Middle Name Last Name

40. Machinery, fixtures, equipment, supplies you use in business, and tools of your trade

mNo

m Yes. Describe ....... ' $
41.lnventory
No
m Yes. Describe ....... $

42. interests in partnerships or joint ventures
No
m yes Describe """" Name of entity: % of ownership:
% $
% $
% $

 

 

 

43§stomer lists, mailing lists, or other compilations
No
m Yes. Do your lists include personally identifiable information (as defined in 11 U.S.C. § 101(41A))?

ENQ

m Ves. Describe. .......

44.€‘?3/ business-related property you did not already list
No

ing Yes. Give specific

 

 

 

 

 

 

 

 

information .........
45. Add the dollar value of all of your entries from Part 5, including any entries for pages you have attached $ 0
for Part 5. Write that number here ............... 9 w

 

 

 

 

Describe Any Farm- and Commercial Fishing-Related Froperty You Own or Have an lnterest |n.
If you own or have an interest in farmland, list it in Part 1.

 

46. Do you own or have any legal or equitable interest in any farm- or commercial fishing-related property?
No. Go to Part 7.
m Yes_ so to line 47.

Current value of the
portion you own?

Do not deduct secured claims
or exemptions

47. Farm animals
Examples: Livestock, poultry, fann-raised fish

m No
m Yes ..........................

thcia| Form 106A/B Schedule AIB: Property page 9

_%

 

 

 

Case 19-13685 DOC 1 Filed 03/20/19 Page 32 Of 60

Debtor 1 Linda D Hart Case number lirkn¢>wn)
Frrst Name Middle Name Last Name

48. Crops_either growing or harvested

@No

m Yes. Give specific
information ............. $

49. Farm and fishing equipment, implements, machinery, fixtures, and tools of trade
No

m Yes ..........................

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

$
50. Farm and fishing supplies, chemica|s, and feed
m No
md Yes ..........................
$
51.An farm- and commercial fishing-related property you did not already list
No
id Yes. Give specific
information. ............ $
52. Add the dollar value of all of your entries from Part 6, including any entries for pages you have attached $ 0
for Part 6. Write that number here .. ...... 9
Part 7: Describe All Property You Own or Have an Interest in That You Did Not List Above
53. Do you have other property of any kind you did not already list?
Examples: Season tickets country club membership
§ No ,
m Yes. Give specific $
information .............
$
54.Add the dollar value of all of your entries from Part 7. Write that number here ................................................................. 9 $ 0
-List the Totals of Each Part of this Form
55.Part 1: Total real estate, line 2 9 $ 0
56. Part 2: Total vehicles, line 5 $
. . 7300
57. Part 3: Total personal and household ltems, line 15 $
. . . 450
58. Part 4: Total financial assets, line 36 $
59. Part 5: Total business-related property, line 45 $ 0
60. Part 6: Total farm- and fishing-related property, line 52 $ 0
61. Part 7: Total other property not |isted, line 54 + $ 0
. 7750 7750
62.Total personal property. Add lines 56 through 61. .................... $ Copy personal property total 9 + $
ea. Total of all property on schedule AlB. Add line 55 + line 62 .......................................................................................... $ 775"

 

 

 

Official Form 106A/B Schedule AIB: Property page 10

 

 

 

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Attachment To Schedule B: Item 06 - Household goods

Description: Dish, Pot, Sheets, Towels , Sp ~ 3228 Burton Ct

 

 

Case 19-13685 DOC 1 Filed 03/20/19 Page 34 Of 60

Fi|| in this information to identify your case:

Debtor 1 Linda D Hal't

Hrst Name Middle Name LBS! Name

Debtor 2
(Spouse, if iiiing) Firsi Name Middie Name Last Name

 

United States Bankruptcy Court for the: District of MARYLAND

Case number n Check if this is an
‘"""°‘”") amended filing

 

 

 

Official Form 106C
Schedule C: The Property You C|aim as Exempt runs

Be as complete and accurate as possib|e. lf two married people are filing together, both are equally responsible for supplying correct information.

Using the property you listed on Schedule A/B: Property (Official Form 106A/B) as your source, list the property that you claim as exempt. lf more
space is needed, fill out and attach to this page as many copies of Part 2: Addifional Page as necessary. On the top of any additional pages, write
your name and case number (if known).

 

For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so is to state a
specific dollar amount as exempt. A|tematively, you may claim the full fair market value of the property being exempted up to the amunt
of any applicable statutory |imit. Some exemptions-such as those for health aids, rights to receive certain benefits, and tax-exempt
retirement funds_may be unlimited in dollar amount. However, if you claim an exemption of 100% of fair market value under a law that

limits the exemption to a particular dollar amount and the value of the property is determined to exceed that amount, your exemption
would be limited to the applicable statutory amount.

mldentify the Property You C|aim as Exempt

1. Which set of exemptions are you claiming? Check one only, even if your spouse is filing with you.

 

cl You are claiming state and federal nonbankruptcy exemptions 11 U.S.C. § 522(b)(3)
n You are claiming federal exemptions. 11 U.S.C_ § 522(b)(2)

2. For any property you list on Schedule A/B that you claim as exompt, fill in the information below.

Brief description of the property and line on Cun'ent value of the Amount of the exemption you claim Specific laws that allow exemption

 

 

 

 

 

 

 

 

 

 

 

Schedule A/B that lists this property portion you own
Copy the value from Check only one box for each exemption
Schedule A/B
Bn_ef Clothes Shoes Courts & Jud. Proc.
description: $ 1200 El $ n:§gzm;)(z¢);_`
Line from m 100% of fair market value, up to
Schedule A/B_- any applicable statutory limit
Brief Bedroom Living And C m J d P
. og § u . roc.
description: KM\"` $ 4500 E| $ _ _
Line from m 100% of fair market value, up to
Schedule A/B_- any applicable statutory limit
. Laptop tv
Bnef ’ ’ C g l l k
description: $ 1000 cl $ n 504(5)(4).
Line from m 100% of fair market value, up to
Schedule A/B_» any applicable statutory limit

 

3. Are you claiming a homestead exemption of more than $160,375?
(Subject to adjustment on 4/01/19 and every 3 years after that for cases filed on or after the date of adjustment.)

m No
cl Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?
|;l No
El Yes
Oflicial Form 106C Schedule C: The Property You C|aim as Exempt page 1 of _

__

 

 

 

Debtof 1
First Name

Linda D

Case 19-13685 Doc 1

Hart

Middle Name

m:Mithnal Fage

Last Name

Case number orkmwn)

Fi|eCl 03/20/19 Page 35 Of 60

 

Brief description of the property and line
on Schedule A/B that lists this property

Brief
description:
Line from
Schedule A/B:
Brief
description:

Line from
Schedule A/B.'

Brief
description:

Line from
Schedule A/B.'

Brief
description:
Line from
Schedule A/B:
Brief
description:

Line from
Schedule A/B.'

Brief
description:
Line from
Schedule A/B:

Brief
description:
Line from
Schedule A/B.'
Brief
description:

Line from
Schedule A/B:

Brief
description:

Line from
Schedule A/B:

Brief
description:
Line from
Schedule A/B.'
Brief
description:

Line from
Schedule A/B:

Brief
description:

Line from
Schedule A/B.'

Ofiicial Form 1060

Bank Account

Current value of the
portion you own

Amount of the exemption you claim

Check only one box for each exemption

 

Dish, Pot, Sheets, Towels ,

Sp`_

g 100% of fair market value, up to
any applicable statutory limit

m 100% of fair market value, up to
any applicable statutory limit

 

n 100% of fair market value, up to
any applicable statutory limit

 

 

n 100% of fair market value, up to
any applicable statutory limit

 

cl 100% of fair market value, up to

 

El 100% affair market value, up to
any applicable statutory limit

 

 

n 100% of fair market value, up to
any applicable statutory limit

 

 

cl 100% of fair market value, up to

n 100% of fair market value, up to

 

El 100% of fair market value, up to

 

cl 100% of fair market value, up to

Copy the value from
Schedule A/B
$ 450 l;| $
s 600 El $
$ El $
$ 13 $
s El $

any applicable statutory limit
$ El $
$ El s
$ El s

any applicable statutory limit
$ El $

any applicable statutory limit
$ n $

any applicable statutory limit
$ El s

any applicable statutory limit
$ El $

 

a 100% of fair market value, up to
any applicable statutory limit

Schedule C: The Property You C|aim as Exempt

 

Specific laws that allow exemption

Courts &iud. Proc.
ll_§ng(h)@ (o.

 

 

£Qun§_&_lud,_llmc,_`
]1_504@(4).

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

page _ of _

 

 

 

Case 19-13685 DOC 1 Fi|eCl 03/20/19 Page 36 Of 60

Fill in this information to identify your case:

Debtor 1

 

Debtor 2
(Spouse, l'f filing) First Name Middle Name Last Name

 

United States Bankruptcy Court for the: District of

Case number . . .
ilfknewn) Cl Check if this ls an

amended filing

 

 

 

Offlcial Form 106D
Schedule D: Creditors Who Have C|aims Secured by Property 12/15

Be as complete and accurate as possible. lf two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, copy the Additional Page, fill it out, number the entries, and attach it to this form. On the top of any
additional pages, write your name and case number (if known).

 

 

1. Do any creditors have claims secured by your property?
m No. Check this box and submit this form to the court with your other schedules You have nothing else to report on this forrn.
lU Yes. Fill in ali urine information below.

 

List All secured claims
Column A Column B Column C

2. List all secured claims. lf a creditor has more than one secured claim, list the creditor separately Amount of claim \,alue of collale,.al unsecured
for each claim. lf more than one creditor has a particular claim, list the other creditors in Part 2. Do not mde me mal supp°m this p°,tl°n
As much as possible, list the claims in alphabetical order according to the creditor’s name. value ofmllaleral_ claim

 

 

 

 

 

 

 

 

 

 

 

 

 

 

lf any
121 Describe the property that secures the claim: $ $ $
Creditors Name 5 ' ' 2
Number Street _ ll
As of the date you file, the claim is: Check all that apply.
n Contingent
U unliquidated
city state zlP code cl Dispuled
Who owes the debt? Check one- Nature of lien, check all that appiy.
n Debel’ 1 Only l:l An agreement you made (such as mortgage or secured
n Debtor 2 only car loan)
n Deblor 1 and Deblor 2 only [;l Statutory lien (such as tax lien, mechanic’s lien)
El At least one of the debtors and another n Judgme"t hen from a lawsuit
Cl other (including a right to arisen
Cl Check if this claim relates to a
community debt
, s D?t° debt ‘_','35 i"°".'_"?d ___ l. List 4, ‘,’,igi,*?'. °,f, a°°,°""¥ ,"“"T',¥""…_,v _ __ _ i, , ,, , , l _ . l
[_2£| Describe the property that secures the claim: $ $ $
Creditor's Name ' j `
Number Street '¢ §
As of the date you file, the claim is: Check all that apply.
cl Contingent
El unliquidated
City State Z|P Code n Dlspuled
Who owes the debt? Check one. Nature of lien. Check ali that apply.
n Debiol' 1 Only n An agreement you made (such as mortgage or secured
n Debtor 2 only car loan)
n Deblor 1 and Debtor 2 Only n Statutory lien (such as tax lien, mechanic’s lien)
\:l At least one of the debtors and another n Judgment lien from a 'aWS'-li§
Cl other (ineluding a right re arisen
a Check if this claim relates to a
community debt
l D,at? d¢?t,‘,'.'as FF,‘°}',!`_'°‘_* _ l , Pale 4 diSiP Pf ?F°°"l‘i,"itmb%' _ _ _, __
Add the dollar value of your entries in Column A on this page. Write that number here:
Ofticial Form 106D Schedule D: Creditors Who Have C|aims Secured by Property page 1 of

 

 

 

Case 19-13685 DOC 1 Fi|eCl 03/20/19 Page 37 Of 60

Fill in this information to identify your case:

Linda D

First Name Middle Name

Debtor 1

 

Debtor 2
(Spouse, if filing) First Name Middle Name Lasl Name

 

United States Bankruptcy Court for the: District of MARYLAND

l;l Check if this is an
?,?ksf°::;"be' amended filing

 

 

 

Oflicial Form 106E/F
Schedule E/F: Creditors Who Have Unsecured C|aims 12115

Be as complete and accurate as possible. Use Part 1 for creditors with PR|OR|TY claims and Part 2 for creditors with NONPR|OR|TY claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. A|so list executory contracts on Schedule
A/B: Property (Ofticial Form 106AIB) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 1066). Do not include any
creditors with partially secured claims that are listed in Schedule D: Creditors Who Have Claims Secured by Property. lf more space is
needed, copy the Part you need, fill it out, number the entries irl the boxes on the left. Attach the Continuation Page to this page. On the top of
any additional pages, write your name and case number (if known).

 

 

List All of ¥our PR|OR|T¥ Unsecured C|aims

 

1. Do any creditors have priority unsecured claims against you?
No. Go to Part 2.

D_Yes.

2. List all of your priority unsecured claims. lf a creditor has more than one priority unsecured claim, list the creditor separately for each claim. For
each claim listed, identify what type of claim it is. lf a claim has both priority and nonpriority amounts, list that claim here and show both priority and
nonpriority amounts As much as possible, list the claims in alphabetical order according to the creditor’s name_ |f you have more than two priority
unsecured claims, fill out the Continuation Page of Part 1. lf more than one creditor holds a particular claim, list the other creditors in Part 3.

(For an explanation of each type of claim, see the instructions for this form in the instruction booklet.)

Total claim Priority Nonpriority

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

amount amount
2_1
Last 4 digits of account number __ ___ _ __ 5 $ $
Priority Creditor's Name
When was the debt incurred?
Number Street
As of the date you file, the claim is: Check all that apply.
cily state zlP code n C°n“"ge"t
_ 7 Cl unliquidated
Who lncurred the debt. Check one. n Dispuled
El Debtor 1 only
El oeotor 2 only Type of PRloRrrY unsecured claim:
g Debt°r 1 and Debtor 2 °n'y n Domestic support obligations
At least one of me debto's and another n Taxes and certain other debts you owe the govemment
n check 'f th's cla'm ls for a commumty debt a C|aims for death or personal injury while you were
ls the claim subject to offset? '"tox'“ted
[| No El other. specify
__F'Y,¢S _ _ i, ,_ y _ _
k'z l Last4 digits of account number ___ _ _ _ $ $ $
Priority Creditor‘s Name
When was the debt incurred?
Number Street
As of the date you file, the claim is: Check all that apply.
n Contingent
city state zlP code Cl unliquidated
Who incurred the debt? Check one. n Disputed
Cl D br l
e or 1 on y Type of PR|OR|TY unsecured claim:
Cl Deblor 2 only a Do t_ br t_
n Debtor 1 and Debtor 2 only mee lc support 0 |ga Kms
n Al least one of the debtors and another n Taxes and certain other debts you owe the government
Ci cl ' f d th l ' ' '
L_l Check lf this claim is for a community debt ing;?:at;; ea or persona m]ury mile you were
ls the claim subject to offset? El Other. Specify
m No
n ¥es
Ofticial Form 106E/F Schedule ElF: Creditors Who Have Unsecured C|aims page 1 of

 

 

 

Case 19-13685 Doc 1

Linda D Hart

First Name Middle Name

Debtor 1

Last Name

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Case number (itknewn)

 

Your FR|OR|TY Unsecured Claims - Continuation Page

After listing any entries on this page, number them beginning with 2.3, followed by 2.4, and so forth.

[:l

 

Priority Creditor's Name

 

Number Sl.reet

 

 

city state zlP Code

Who incurred the debt? Check one.

n Debtor 1 only

m Debtor 2 only

m Debtor 1 and Debtor 2 only

m At least one of the debtors and another

n Check if this claim is for a community debt

 

 

 

 

ls the claim subject to offset?

n No

n Yes

Priority Creditors Name

Number Street

City State ZlP Code

Who incurred the debt? Check one.

m Debtor 1 only

n Debtor 2 only

cl Debtor 1 and Debtor 2 only

n At least one of the debtors and another

n Check if this claim is for a community debt

ls the claim subject to offset?

n No
n Yes

 

Pliority Creditor's Name

 

Number Street

 

 

city state zlP Code

Who incurred the debt? Check one.

El Debtor 1 only

n Debtor 2 only

n Debtor 1 and Debtor 2 only

n At least one of the debtors and another

l:l Check if this claim is for a community debt

ls the claim subject to offset?

UNo
D¥es

Ctliclal Form 1065/F

Total claim Priority

amount

Last 4 digits of account number _

When was the debt incurred?

As of the date you tile, the claim is: Check all that apply.

cl Contingent
El unliquidated
El Dieputed

Type of PR|OR|TY unsecured claim:

l:l Domestic support obligations
n Taxes and certain other debts you owe the government

l;l Claims for death or personal injury while you were
intoxicated

n Other. Specify

 

Last 4 digits of account number _ __ $ $

When was the debt incurred?

As of the date you file, the claim is: Check all that apply.

U Contingent
Cl unliquidated
m Disputed

Type of PR|OR|TY unsecured claim:

Domestic support obligations
Taxes and certain other debts you owe the government

Claims for death or personal injury while you were
intoxicated

Other. Specify

U UUU

 

Last 4 digits of account number _ _ $ $
When was the debt incurred?

As of the date you file, the claim is: Check all that apply.

n Contingent
El unliquidated
cl Disputed

Type of PR|OR|TY unsecured claim:

n Domestic support obligations
El Taxes and certain other debts you owe the government

l:l C|aims for death or personal injury while you were
intoxicated

n Other. Specify

 

Schedule EIF: Creditors Who Have Unsecured Claims

Nonprierity

amount

Da°e __Of _

__'

 

 

 

Case 19-13685 Doc 1
Hart

Last Name

Linda D

First Name

Debtor 1
Middle Name

m List All of Your NQNPRIORlTY Unsecured claims
3. l_|}_o
l`l

any creditors have nonpriority unsecured claims against you?

Yes

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Case number lirkncwn)

No. You have nothing to report in this part. Submit this form to the court with your other schedules

4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. |f a creditor has more than one
nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
included in Part 1. lf more than one creditor holds a particular claim, list the other creditors in Part 3.lf you have more than three nonpriority unsecured

claims till out the Continuation Page of Part 2.

Aargon Collection

Nonpn'ority Creditors Name

8668 Spring Mountain Rd.
Number Street

Las Vegas NV 89117

city

 

 

State ZlP Code

Who incurred the debt? Check one.

d Debtor 1 only

n Debtor 2 only

El Debtor 1 and Debtor 2 only

n At least one of the debtors and another

Cl Check if this claim is for a community debt

ls the claim subject to offset?
No

n Yes
Capital One
Nonpriorily Creditor’s Name

Po Box 30253
Number Street

Salt Lake City UT 84130

City State Z|P Code

Who incunied the debt? Check one.

d Debtor 1 only

cl Debtor 2 only

n Debtor 1 and Debtor 2 only

m At least one of the debtors and another

Cl check if this claim is rcr a community debt

ls the claim subject to offset?
m No
n Yes

Capital One
Nonpriority Creditors Name
Po Box 30253
Number Street

Salt Lake City UT 84130
city

 

 

State ZlP Code

Who incurred the debt? Check one.
Debtor 1 only

E] Debtor 2 only

n Debtor 1 and Debtor 2 only

n At least one of the debtors and another

n Check if this claim is for a community debt

ls the claim subject to offset?
a No
n Yes

Oiiicial Form 106E/F

Last 4 digits of account number _§021

Schedule EIF: Creditors Who Have Unsecured Claims

Total daim
Last 4 digits of account number _50§ _ _

_lel§_

$ 0

When was the debt incurred?

As of the date you file, the claim is: Check all that apply.

0 Contingent
El unliquidated
n Disputed

Type of NONPR|OR|TY unsecured claim:

[] Student loans

cl Obligations arising out of a separation agreement or divorce
that you did not report as priority claims

n Debls to pension or proHt-sharing plans, and other similar debts
other. specify Collections

When was the debt incurred? 2015

As of the date you file, the claim is: Check all that apply.

n Contingent
Cl unliquidated
Cl Disputed

Type of NONPR|OR|TY unsecured claim:

cl Studenl loans

m Obligations arising out of a separation agreement or divorce
that you did not report as priority claims

|;l Deth to pension or pmm-sharing plans, and other similar debts
m Other. Specify Cc

Last 4 digits of account number __ _

When was the debt incurred? 2015

$ 494

As of the date you file, the claim is: Check all that apply.

m Contingent
El unliquidated
D Disputed

Type of NONPR|OR|TY unsecured claim:

cl Student loans

n Obligations arising out of a separation agreement or divorce
that you did not report as priority claims

U Debts to pension or profit-sharing plans, and other similar debts

m Other. Specify Cc

 

 

page _ of __

 

 

 

Case 19-13685 DOC 1 Filed 03/20/19 Page 40 Of 60

Debtor 1 Lillda D Hart Case number tirknewn)
First Name Middle Name Last Name

Your NONPR|OR|T¥ Unsecured claims - Continuation Page

 

After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth. Total claim

 

4.4

 

 

 

Comenity Capial Ny And Co Last 4 digits of account number Mf)l_ __ _ $ 244

Nonpriority Creditors Name
When was the debt incurred? 2018

 

 

Po Box 182120
Number S"eet As of the date you file, the claim is: Check all that apply.
Columbus OH 43218
City state zlP code [] contingent
[Il unliquidated
Who incurred the debt? Check one. n Disputed
il Debtor 1 only
Cl Debtor 2 only Type of NONPR|OR|TY unsecured claim:

El Debtor 1 and Debtor 2 only
l;l At least one of the debtors and another

cl Student loans

n Obligations arising out of a separation agreement or divorce that
you did not report as priority claims

a Debts to pension or protit-shaling plans, and other similar debts

ls the claim subject to offset? m othe,_ Specify Cc

P_‘i Ne
cl Yes

Last 4 digits of account number __

Comenig Bank Ann Tavlor
Nonpriority Creditors Name 2014
When wasthe debt incurred?

El check iftliis claim is for a community debt

$ 350

 

 

Po Box 182789
Number Street _ _
As of the date you file, the claim ls: Check all that apply.

Columbus OH 43218
City State ZlP Code n Contingent

_ a Unliquidated
Who incurred the debt? Check one. cl Disputed
m Debtor 1 only
Cl Debtor 2 only Type of NONPR|OR|T¥ unsecured claim:

m Debtor 1 and Debtor 2 only

n Student loans
n At least one of the debtors and another

[:l Obligations arising out of a separation agreement or divorce that
you did not report as priority claims

m Debts to pension or protit-sharing plans, and other similar debts

ls the claim subject to offset? la Ome,_ Specify Cc

m No
n Yes

- … .… , ,, u, _ … t ..u $1250

Last 4 digits of account number _ _

El check if this claim is for a community debt

 

 

 

 

Comenity Bank Ny -- _
Nonpriority Creditors Name 0
When was the debt incurred? 2 14
Po Box 182789 _ '_ "'
Number Street
As of the date you file, the claim is: Check all that apply.
Columbus OH 43218
city state zlP code C| Contingent
El unliquidated
Who incurred the debt? Check one. n Disputed

Debtor1 only
Cl Debtor 2 only Type of NONPR|OR|T¥ unsecured claim:
n Debtor1 and Debtor 2 only

n Student loans
n At least one of the debtors and another

a Obligations arising out of a separation agreement or divorce that
you did not report as priority claims

n Check if this claim is for a community debt 4 _
a Debts to pension or proEt-shanng plans, and other similar debts

 

ls the claim subject to offset? u Other_ Specify Cc
No
n Yes
OfEcia| Form 106E/F Schedule EIF: Creditors Who Have Unsecured Claims page _ of __

__

 

 

 

Case 19-13685 DOC 1 Filed 03/20/19 Page 41 Of 60

Debtor 1 Linda D Hart Case number (irtnown)
Fi¢st Name Middle Name Last Name

m Add the Amounts for Each Type of unsecured C|aim

 

6. Total the amounts of certain types of unsecured claims. This information is for statistical reporting purposes only. 28 U.S.C. § 159.
Add the amounts for each type of unsecured claim.

 

 

 

 

 

 

 

 

 

 

 

 

Total claim
Total claims 6a. Domestlc support obligations 6a $ 0
from Part 1 6b. Taxes and certain other debts you owe the
government 6b. $ 0
6e. Claims for death or personal injury while you were
intoxicated 60. $ 0
6d. Other. Add all other priority unsecured claims.
Write that amount here. 6d. + $ 0
6e. Total. Add lines 6a through 6d. 6e.
$ 0
Total claim
Total claims 6f. Student loans 6i. $ 0
from Part 2 Sg. Obligations arising out of a separation agreement
or divorce that you did not report as priority
claims 69. $ 0
6h_ Debts to pension or profit-sharing plans, and other
similar debts 6h. $ 0
6i. Other. Add all other nonpriority unsecured claims.
Write that amount here. 6i. + $ 26730
6j. Total. Add lines 6f through 6i. 6j.
$ 26730
Ofticial Form 106E/F Schedule ElF: Creditors Who Have Unsecured Claims page _ of _

_`_'

 

 

 

Case 19-13685 Doc 1

Debtor 1 Linda D Hal't

Firsl Name Middle Name Last Name

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Case number (irl<nown)

m Your NONPR|QR|T¥ Unsecured claims - continuation Page

 

After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth. Total claim

 

4.7

 

 

 

Credit One Bank

Nonpriority Creditors Name

6801 S Cimarron Rd

 

 

Number Street
Las Vegas NV 89113
city state zlP code

Who incurred the debt? Check one.

d Debtor1 only

m Debtor 2 only

n Debtor1 and Debtor 2 only

m At least one of the debtors and another

n Check if this claim is for a community debt

ls the claim subject to offset?

Elne
DYes

George Washington Univ

Nonpriority Creditofs Name

900 23rd St Nw

 

Number Street

Washington DC 20037

city state zlP code
Who incurred ttie debt? Check one.

a Debtor 1 only

cl Debtor 2 only

n Debtor 1 and Debtor 2 only

n At least one of the debtors and another

n Check if this claim is for a community debt

ls the claim subject to offset?

a No
n Yes

George Washington Univ

Nonprlority Creditor's Name

900 23rd St Nw

 

Number Street

Washington DC 20037
city state zlP code

Who incurred the debt? Check one.
Debtor 1 only

cl Debtor 2 only

Cl Debtor 1 and Debtor 2 only

n At least one of the debtors and another

cl Check if this claim is for a community debt

ls the claim subject to offset?

No `
n Yes

OtHcial Form 106E/F

Schedule ElF: Creditors Who Have Unsecured Claims

Last 4 digits of account number £96__ _ __ $ 739
When was the debt incurred? 2017

As of the date you file, the claim is: Check all that apply.

n Contingent
El unliquidated
El Disputed

Type of NONPR|OR|TY unsecured claim:

Cl Student loans

Cl Obligations arising out of a separation agreement or divorce that
you did not report as priority claims

n Deth to pension or profit-sharing plans, and other similar debts

m Other. Specify Cc

Last 4 digits of account number _501_5_ $ 382

2018

When was the debt incurred?

As of the date you file, the claim is: Check all that apply.

cl Contingent
El unliquidated
a Disputed

Type of NONPR|OR|TY unsecured claim:

El student loans

n Obligations arising out of a separation agreement or divorce that
you did not report as priority claims

n Debts to pension or proht-sharing plans, and other similar debts

m Other. Specify Medical

 

Last 4 digits of account number _25'&_ _ $ 250

When was the debt incurred? 2018

As of the date you file, the claim is: Check all that apply4

n Contingent
ill unliquidated
cl Disputed

Type of NONPR|OR|TY unsecured claim:

n Student loans

n Obligations arising out cfa separation agreement or divorce that
you did not report as priority claims

Cl Debts to pension or proht-sharing plans, and other similar debts

E other. specify Medical

page 6_ Of B

__

 

 

Case 19-13685 Doc 1

Debtor 1 Linda I) Hart

Firsl Name Middle Name Last Name

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Case number (irknown)

mm NQNPRlORlTY Unsecured Claims ~ Continuation Page

After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth. Total claim

 

4.10
George Washington Univ Hospita

Nonpriorlty Creditor’s Name

900 23rd St Nw

 

Number Street

Washington DC 20037
city state zlP code

Who incurred the debt? Check one.

a Debtor 1 only

n Debtor 2 only

Cl Debtor 1 and Debtor 2 only

n At least one of the debtors and another

Cl cheek if this claim is for a community debt
ls the claim subject to offset?

g No
cl Yes

.ll

Lendmark
Nonpriority Creditors Name

Po Box 2969
Number Street

Covington GA 30015
city state zlP code
Who incurred the debt? Check one.

il Debtor 1 only

Cl Debtor 2 only

n Debtor1 and Debtor 2 only

m At least one of the debtors and another

n Check ifthis claim is for a community debt

 

 

 

ls the claim subject to offset?

a No

n Yes

Macys

Nonpriority Creditor`s Name

911 Duke Blvd

Number Street

Mason OH 45040

City State ZlP Code

Who incurred the debt? Check one.
Debtor1 only
n Debtor 2 only
m Debtor 1 and Debtor 2 only
m At least one of the debtors and another
n Check if this claim is for a community debt

ls the claim subject to offset?

d No
n Yes

Oflicia| Form 106E/F

Schedule ElF: Creditors Who Have Unsecured Claims

Last 4 digits of account number §0_ _ _ $ 258
When was the debt incurred? 2018

As of the date you file, the claim is: Check all that apply.

m Contingent
El unliquidated
El Disputed

Type of NONPR|OR|TY unsecured claim:

n Student loans
n Obligations arising out of a separation agreement or divorce that
you did not report as priority claims
a Debts to pension or protit-sharin plans, and other similar debts
g

m Other. Specify Medical

 

Last 4 digits of account number 508 3 10963

When was the debt incurred? 2016

As of the date you file, the claim is: Check all that apply.

n Contingent
El unliquidated
El Disputed

Type of NONPR|OR|TY unsecured claim:

m Student loans

m Obligations arising out of a separation agreement or divorce that
you did not report as priority claims

n Debts to pension or profit-sharing plans, and other similar debts

m Other. Specify Loan

Last 4 digits of account number _2520_ _ __ $788`

When was the debt incurred? 2014

As of the date you file, the claim is: Check all that apply.

n Contingent
El unliquidated
n Disputed

Type of NONPR|OR|TY unsecured claim:

El Student loans

n Obligations arising out of a separation agreement or divorce that
you did not report as priority claims

a Debts to pension or protit-sharing plans, and other similar debts

m Other. Specify Cc

page 7_ Of §

 

 

 

Case 19-13685 Doc 1

Debtor 1 Linda D Hart

Fil§f Name Middle Name LBS\ Name

Filed 03/20/19 Page 44 Of 60

Case number tit kncwn)

w Your NONPR|OR|T¥ Unsecured Claims - Continuation Page

After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth. Total claim

 

 

4.13

 

 

Market Usa Federal Cu

 

Nonpriority Creditor’s Name

8871 Gorman Rd St 100

 

 

Number Street
Laurel MD 20723
city state zlP code

Who incurred the debt? Check one.

a Debtor1 only

n Debtor 2 only

n Debtor 1 and Debtor 2 only

El At least one of the debtors and another

El check if this claim is for a community debt
ls the claim subject to offset?

m No
m Yes

.°*
t-t
h

Medical Data Systems
Nonpriority Creditofs Name

128 W Center Ave 2nd Floor

 

Number Street

Sebn'gg FL 33870

city state zlP code
Who incurred the debt? Check one.

il Debtor 1 only

n Debtor 2 only

n Debtor 1 and Debtor 2 only

[:l At least one of the debtors and another

El Check if this claim is for a community debt

ls the claim subject to offset?

Zl nc
n Yes

Medical Data Systems

 

Nonpriority Creditor`s Name
128 W Center Ave 2nd Floor

 

Number Street

Sebri_ng FL 33870

city state zlP code
Who incurred the debt? Check one.

Debtor 1 only
n Debtor 2 only
Cl Debtor 1 and Debtor 2 only
cl At least one of the debtors and another

El check if this claim is for a community debt
ls the claim subject to offset?

d No
n ¥es

OfEcial Form 106E/F

Schedule ElF: Creditors Who Have Unsecured Claims

Last 4 digits of account number _ ___ __ _ $ 1394
When was the debt incurred? 2018

As of the date you file, the claim is: Check all that apply.

n Contingent
Cl unliquidated
\:l Disputed

Type of NONPR|OR|TY unsecured claim:

El Student loans

n Obligations arising out of a separation agreement or divorce that
you did not report as priority claims

n Debts to pension or profit-sharing plans, and other similar debts
a other_ specify Cc

Last 4 digits of account number _2_580_
2018

$ 327

When was the debt incurred?

As of the date you file, the claim is: Check all that apply.

n Contingent
El unliquidated
n Disputed

Type of NCNPR|OR|TY unsecured claim:

n Student loans

n Obligations arising out of a separation agreement or divorce that
you did not report as priority claims

n Debts to pension or profit-sharing plans, and other similar debts
m Other. Specify Collections

$ 0
Last 4 digits of account number __

When was the debt incurred? 2018

As of the date you tile, the claim is: Check all that apply,

n Contingent
El unliquidated
Cl Disputed

Type of NONPR|OR|TY unsecured claim:

cl Student loans

n Obligations arising out of a separation agreement or divorce that
you did not report as priority claims

Cl Debts to pension or proflt-sharing plans, and other similar debts

Ql other. specify Medical

 

 

 

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Case 19-13685 Doc 1

Debtor 1 Linda D Hart

First Name Middle Name Last Name

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Case number (irkncwn)

¥our NONPR|DR|TY Unsecured Claims _ Continuation Page

 

 

 

 

 

 

 

 

After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth. Total claim
4.16 4 _ _ f be 2061
Mcrrick Bank Ccrp Last d'g“ ° a°°°""‘ """‘ ' _ __ -- - $ 1492
Nonpriority Creditor‘s Name 2016
When was the debt incurred?
Po Box 9201
Number S"eet As of the date you file, the claim is: check all that apply.
Bethpage NY 11804
city state zlP code El contingent
C| unliquidated
Who incurred the debt? Check one. n Disputed

il Debtor 1 only

n Debtor 2 only

EI Debtor 1 and oebtor 2 only

l;l At least one of the debtors and another

n Check if this claim is for a community debt

ls the claim subject to offset?

g No
m Yes

Nordstrom 'I`d Bank

Nonpriority Creditors Name

13531 E Caley Ave

Number Street

Englewood CO 80111

city state zlP code
Who incurred the debt? Check one.

a Debtor1 only

a Debtor 2 only

El Debtor 1 and Debtor 2 only

m At least one of the debtors and another

El Check if this claim is for a community debt

ls the claim subject to offset?

DNO
DYes

One Main

Nonpriority Creditor‘s Name

100 Intemational Dr 15th Fl

 

 

Number Street
Baltimore MD 21202
City State ZlP Code

Who incurred the debt? Check one.

il Debtor 1 only

cl Debtor 2 only

Cl Debtor1 and Debtor 2 only

a At least one of the debtors and another

n Check if this claim is for a community debt

ls the claim subject to offset?

d No
cl Yes

Oflicia| Form 106E/F

Schedule ElF: Creditors Who Have Unsecured Claims

Type of NONPR|OR|TY unsecured claim:

cl Student loans

m Obligations arising out of a separation agreement or divorce that
you did not report as priority claims

L_.l Debts to pension or prolit-sharing plans, and other similar debts

m Other. Specify Cc

Last 4 digits of account number _7_043_
2017

When was the debt incurred?

As of the date you file, the claim is: Check all that apply.

n Contingent
n Un|iquidated
l:l Disputed

Type of NONPR|QR|TY unsecured claim:

n Student loans

n Obligations arising out of a separation agreement or divorce that
you did not report as priority claims

n Debts to pension or profit-sharing plans, and other similar debts
m Other. Specify Cc

Last 4 digits of account number _1532_ _ _
When was the debt incurred? 2015

As of the date you file, the claim is: Check all that apply.

m Contingent
[J unliquidated
n Disputed

Type of NONPR|OR|TY unsecured claim:

n Student loans

n Obligations arising out of a separation agreement or divorce that
you did not report as priority claims

Cl Debts to pension or profit-shaan plans, and other similar debts

EZ| other. specify Loan

$ 548

$17_61___

page 9_ <>f l‘?_

 

 

Case 19-13685 Doc 1

Debtor 1 Linda D Hal't

First Name Middle Name Last Name

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Case number (itknown)

Your NQNPRlORlTY Unsecured Claims - Continuation Page

 

After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth. Total claim

4.19

 

United Consumer Financial

 

Nonpriority Creditors Name
865 Bassette

 

Number Street

Westlake OH 44145

city state zlP Code
Who incurred the debt? Check one.

il Debtor1 only

n Debtor 2 only

El Debtor 1 and Debtor 2 only

El At least one of the debtors and another

Cl Check if this claim is for a community debt

ls the claim subject to offset?

m No
m Yes

United Consumer Financial
Nonpriority Creditors Name

865 Bassette

 

Number Street

Westlake OH 44145
city state zlP code

Who incurred the debt? Check one.

a Debtor1 only

D Debtor 2 only

El Debtor 1 and Debtor 2 only

El At least one of the debtors and another

 

n Check if this claim is for a community debt

ls the claim subject to offset?

 

 

n No

n Yes

Verizon

Nonpriority Creditor's Name

500 Technology Dr St 300
Number Slreet

Weldon Spring MO 63304
City State ZlP Code
Who incurred the debt? Check one.
Debtor 1 only
m Debtor 2 only
cl Debtor 1 and Debtor 2 only
cl At least one of the debtors and another
D check if this claim is for a community debt

ls the claim subject to offset?

a No
cl ¥es

Official Form 106E/F

Schedule ElF: Creditors Who Have Unsecured Claims

Last 4 digits of account number 215___ _ ___ $ 1921

when was the debt incurred? 2017

As of the date you file, the claim is: Check all that apply.

cl Contingent
Cl unliquidated
Cl Disputed

Type of NONPR|OR|TY unsecured claim:

n Student loans

n Obligations arising out of a separation agreement or divorce that
you did not report as priority claims
n Debts to pension or prolit-sharing plans, and other similar debts

m Other. Specify Loan

Last 4 digits of account number _153£
2016

$ 2372

When was the debt incurred?

As of the date you file, the claim is: Check all that apply.

m Contingent
U unliquidated
n Disputed

Type of NONPR|OR|TY unsecured claim:

cl Student loans

n Obligations arising out of a separation agreement or divorce that
you did not report as priority claims

l:l Debts to pension or profit-sharing plans, and other similar debts

m Other. Specify Loan

7
Last 4 digits of account number _0967_ $M__

When was the debt incurred? 2012

As of the date you file, the claim is: Check all that app|y.

n Contingent
El unliquidated
n Disputed

Type of NONPR|OR|T¥ unsecured claim:

Cl Student loans

m Obligations arising out of a separation agreement or divorce that
you did not report as priority claims

a Debts to pension or protit-sharing plans, and other similar debts

m Other. Specify Util

page 19 Of l“_

 

 

Case 19-13685 DOC 1 Filed 03/20/19 Page 47 Of 60

Fill in this information tc identity you.r case:

Debtor Lillda
Flrst Name

 

Debtor 2
(Spouse lf t`llirlg) First Name Middle Name Last Name

 

united states Bankmptcy court for the: District ot MARYLAND

C(:i?::o::;nber n Check if this is an

amended filing

 

 

 

Ofl'lcial Form 1066
Schedule G: Executory Contracts and Unexpired Leases 12115

Be as complete and accurate as possible. lf two married people are tiling together, both are equally responsible for supplying correct
information. lf more space is needed, copy the additional page, t”l|| it out, number the entries, and attach it to this page. On the top of any
additional pages, write your name and case number (if known).

 

 

1 . Do you have any executory contracts or unexpired leases?
rm- No. Check this box and tile this form with the court with your other schedules You have nothing else to report on this forrrl.
EYes. Fill in all of the information below even if the contracts or leases are listed on Schedule A/B.' Property (Offlcial Form 106A/B).

2. List separately each person or company with whom you have the contract or lease. Then state what each contract or lease is for (for
example, rent, vehicle lease, cell phone). See the instructions for this form in the instruction booklet for more examples of executory contracts and
unexpired leases.

Person or company with whom you have the contract or lease State what the contract or lease is for

2.1

 

 

Name

 

Number Street

 

 

 

 

 

City State Z|P Code
2.2

Name

Number Street

City State ZlP Code
2.3

Name

 

Number Street

 

City State Z|P Code
2.4

 

Name

 

Number Street

 

city state zlP code
2.5

 

Name

 

Number Street

 

City State ZlP Code

Oflicial Form 1066 Schedule G: Executory Contracts and Unexpired Leases page 1 ot_

 

 

 

 

Debtor 1 Linda D

First Name

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Midd|e Name

Hal't Case number (inmown)

 

Last Name

- Additional Page if You Have More Contracts or Leases

Person or company with whom you have the contract or lease

2.6

 

Name

 

Number

Street

 

city

2.7

State

Z|P Code

 

Name

 

Number

Street

 

city

2.8

State

Z|P Code

 

Name

 

Number

Street

 

city

2.9

State

Z|P Code

 

Name

 

Number

Street

 

city

2.10

State

Z|P Code

 

Name

 

Number

Street

 

city

2.11

State

Z|P Code

 

Name

 

Number

Street

 

city

2.12

State

Z|P Code

 

Name

 

Number

Street

 

City

2.13

State

Z|P Code

 

Name

 

Number

Street

 

City

Official Form 1066

__

State

Z|P Code

Schedule G: Executory Contracts and Unexpired Leases

 

What the contract or lease is for

page ___ of ___

 

 

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Fill in this information to identify your case:

Debtor1 Linda
FirSt Name

Debtor 2
(Spouse, if nling) First Name Middle Name Last Name

 

United States Bankmptcy Court for the: District of MARYLAND

Case number
llf known)

 

 

El check if this is en
amended filing

OfFlcial Form 106H
Schedule H: Your Codebtors 12/15

Codebtors are people or entities who are also liable for any debts you may have. Be as complete and accurate as possible. lf two married people
are filing together, both are equally responsible for supplying correct information. lf more space is needed, copy the Additional Page, till it out,

and number the entries in the boxes on the left. At|ach the Additional Page to this page. On the top of any Additional Pages, write your name and
case number (if known). Answer every question.

 

1. Do you have any codebtors? (lf you are filing a joint case, do not list either spouse as a codebtor.)

m No
m Yes

2. Within the last 8 years, have you lived in a community property state or territory? (Community property states and territories include
Arizona, California, |daho, Louisiana, Nevada, New Mexico, Puelto Rico, Texas, Washington, and Wisconsin.)
El No. soto line 3.
a Yes. Did your spouse, fortner spouse, or legal equivalent live with you at the time?

DNo

n Yes. ln which community state or territory did you live? . Fill in the name and current address of that person_

 

Name of your spouse, former spouse, or legal equivalent

 

Number Street

 

City State Z|P Code

3. ln Column 1, list all of your codebtors. Do not include your spouse as a codebtor if your spouse is filing with you. List the person
shown in line 2 again as a codebtor only if that person is a guarantor or cosigner. Make sure you have listed the creditor on

Schedule D (Oft”lcial Form 106D), Schedule E/F (Official Form 106EIF), or Schedule G (Ol'ficia| Form 1066). Use Schedule D,
Schedule E/F, or Schedule G to fill out Column 2.

Column 1.' Your codebtor Column 2: The creditor to whom you owe the debt

Check all schedules that apply:

 

3.'1

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

n Schedule D, line
Name
El schedule E/F, line
Number Street lZl schedule G, line
city state zlP code
3.2
m Schedule D, line
Name
U Schedule E/F, line
Number Street El schedule G, line
city state zlP code
3.3
Cl schedule D, line
Name `
l:l Schedule E/F, line
Numbe' S"ee‘ El Schedule G, line
city state zlP code
Ofiicial Form 106H Schedule H: Your Codebtors

page 1 of _

 

 

 

Debtor 1

Linda D

l-`lrsl Name

Case 19-13685 Doc 1

Last Name

Case number ()fkncwn)

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- Additional Fage to List More Codebtors

Column 1.' Your codebtor

l§l

 

Name

 

Number

Street

 

city

.W
l

State

Z|P Code

 

Name

 

Number

Street

 

City

$"
l

State

Z|P Code

 

Name

 

Number

Street

 

City

.‘*’
|

State

Z|P Code

 

Name

 

Number

Street

 

City

State

ZlP Code

 

Name

 

Number

Street

 

city

State

Z|P Code

 

Name

 

Number

Street

 

city

State

Z|P Code

 

Name

 

Number

Street

 

city

State

Z|P Code

 

Name

 

Number

Street

 

Official Form 106H

, C".Y ,i , ,….… l c…~°t¥a*.‘? ,i c

Schedule H: Your Codebtors

Column 2: The creditor to whom you owe the debt

Check all schedules that apply:

n Schedule D, line __
a Schedule E/F, line
Cl Schedule G, line___

n Schedule D, line
lIl schedule E/F, line
El Schedule G, line

U Schedule D, line
Cl Schedule E/F, line
lIl schedule e, line

Cl schedule D, line
El schedule E/F, line
El Schedule G, line

El Schedule D, line
El schedule E/F, line
cl Schedule G, line

Cl Schedule D, line
El schedule E/l=, line
El Schedule G, line

El Schedule D, line
El schedule E/F, line
lIl schedule G, line

Cl schedule D, line
C] schedule E/F, line
El schedule G, line

Z..'PF?°ZS“?,.,., ». .. w l

page _ of _

 

 

 

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Fill in this information to identify your case:

Linda D

First Name Middle Name

Debtor 1

 

Debtor 2
(Spouse, if filing) First Name Mdd|e Name Last Name

MARYLAND

 

United States Bankruptcy Court for the: District of

Case number Check if this iSZ
(lf known)
n An amended filing

El A supplement showing postpetition chapter 13
income as of the following date:

official FOrm 106| _ m
Schedule l: Your lncome lens

Be as complete and accurate as possible. lf two married people are E|ing together (Debtor 1 and Debtor 2), both are equally responsible for
supplying correct information. lf you are married and not filing joint|y, and your spouse is living with you, include information about your spouse.
lf you are separated and your spouse is not filing with you, do not include information about your spouse. lf more space is needed, attach a
separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.

mbescribe Employment

1. Fill in your employment
information. Debtor 1 Debtor 2 or non-filing spouse

 

 

 

 

lf you have more than one job,

attach a separate page with
information about additional Employment status § Employed 15 Employed
employers. n Not employed Not employed

lnc|ude part-time, seasonal, or
self-employed work.

 

 

 

 

 

 

. CASHIER
0
Occupation may include student ccupa"°n
or homemaker, if it applies.
Employer’s name GIAN'I` FOOD
PO BOX 55836
Employer’s address
Number Street Number Street
city state zlP code city state zlP code

How long employed there? 6

m¢iive Details About Monthly lncome

Estimate monthly income as of the date you file this form. lf you have nothing to report for any line. write $0 in the space. lnc|ude your non-liling
spouse unless you are separated.

lf you or your non-nling spouse have more than one employer, combine the information for all employers for that person on the lines
below. lf you need more space, attach a separate sheet to this form.

For Debtor 1 For Debtor 2 or
non-filing spouse

 

2. List monthly gross wages, salary, and commissions (before all payroll

 

 

 

 

 

 

deductions). lf not paid monthly, calculate what the monthly wage would be. 2. $ 2964 $

3. Estimate and list monthly overtime pay. 3. + $ 0 + $

4. Calcu|ate gross income. Add line 2 + line 3. 4_ $ 2964 $
Oflicia| Form 106| Schedule l: Your lncome page 1

 

 

 

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Debtor 1 Lillda D Hal"t Case number (irkncwn)
Hrst Name Middle Name Last Name
For Debtor 1 For Debtor 2 or
nggjling sgggse
Copy line 4 here ............................................................................................... ') 4. $lL $
5. List all payroll deductions:
5a. Tax, Medicare, and Social Security deductions 53. $ 566 $
5b. Mandatory contributions for retirement plans 5b. $ 0 $
5c. Voluntary contributions for retirement plans 5c. $ 144 $
5d. Required repayments of retirement fund loans 5d. $ 25 $
5e. lnsurance 5e. $ 152 $
5f. Domestlc support obligations 5f_ $ 0 $
Sg. Union dues 59. $ 52 $
5h. Other deductions. Specify: LEGAL FEES ANl) POL 5h. + $ 89 + 5
6. Add the payroll deductions. Add lines 5a + 5b + 5c + 5d + 5e +5f + 59 + 5h. 6. $ 1028 $
7. Calculate total monthly take-home pay. Subtract line 6 from line 4. 7. $ 1936 $
B. List all other income regularly received:
8a. Net income from rental property and from operating a business,
profession, or farm
Attach a statement for each property and business showing gross
receipts, ordinary and necessary business expenses, and the total $ 0 $
monthly net income. 8a.
8b. lnterest and dividends 8b. $ 0 $
8c_ Family support payments that you, a non-filing spouse, or a dependent
regularly receive
include alimony, spousal support, child support, maintenance, divorce $ 0 $
settlement and property settlement. 8c_
Bd. Unemployment compensation Sd. $ 0 $
8e. Social Security 8e. $ 0 $
Bf. Other government assistance that you regularly receive
lnc|ude cash assistance and the value (if known) of any non-cash assistance
that you receive, such as food stamps (benelits under the Supp|emental
Nutrition Assistance Program) or housing subsidies
speciry: sf. $ 0 $
89. Pension or retirement income 89. $ 0 $
8h. Other monthly income. Specify: 8h. + $ 0 + $
9. Add all other income. Add lines 8a + 8b + 8c + 8d + 8e + 8f +89 + 8h. 9_ $ 0 $
10. Ca|cu|ate monthly income. Add line 7 + line 9. _
Add the entries in line 10 for Debtor 1 and Debtor 2 or non-tiling spouse. 10. $ 1936 + $ 1_ |$1936

1

_a

. State all other regular contributions to the expenses that you list in Schedule J.

 

 

 

 

 

lnc|ude contributions from an unmarried partner, members of your household, your dependents, your roommates, and other

friends or relatives.

Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.

Specify:

 

12. Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly income.
Write that amount on the Summary of Your Assets and Liabl'lities and Certain Statistical lnfonnation, if it applies

Ofiicial Form 106|

fmi No.

13. Do you expect an increase or decrease within the year after you file this form?

12. E~M____

11.+ $0

 

Combined
monthly income

 

itl Yes. Explain:

 

 

 

Schedule l: Your lncome

page 2

 

 

 

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Fiii in this information to identify your case:

Linda D

First Name Middle Name

Debtorz CI An amended filing

(Spouse, iffiling) Firs\Name Middle Name Lasmame cl
h 14 RYI wm A supplement showing postpetition chapter 13
D*'°`*"Ct °f` expenses as of the following date:

Debtor 1 Check if this is:

United States Bankruptcy Court for the:

?l?:e "u;“be' MM / DD/ vYYY
now|'\

 

 

Official Form 106J
Schedule J: Your Expenses 12/15

Be as complete and accurate as possible. lf two married people are filing together, both are equally responsible for supplying correct
information. if more space is needed, attach another sheet to this form. On the top of any additional pages, write your name and case number
(if known). Answer every question.

Part 1: Describe Your Household

1. ls this a joint case?

ENo. Go to line 2.
FrYes. Does Debtor 2 live in a separate household?

ga No `

Yes. Debtor 2 must iile Ofticia| Form 106J-2, Expenses for Separate Household of Debtor 2.

 

 

 

 

 

 

2. Do you have dependents? iii No _
Dependent’s relationship to Dependent’s Does dependent lwe
on not list Debtor 1 and §U Yes. Fin nut this information for Debtor 1 or Debtor 2 age with you?
Debtor 2. each dependent ..........................
Do not state the dependents’ SON 17 m No
names. iv ‘(es
soN 19 WN<>
cr Yes
DAUGHTER 14 UNO
la Yes
n No
fn Yes
la No
P' Yes
3. Do your expenses include q No

expenses of people other than n
yourself and your dependents? |_. Yes

m£stimate Your ongoing Honthly Expenses

Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report
expenses as of a date after the bankruptcy is filed. lf this is a supplemental Schedule J, check the box at the top of the form and fill in the
applicable date.

 

lnc|ude expenses paid for with non-cash government assistance if you know the value of

 

such assistance and have included it on Schedule l: Your lncome (Officia| Form 106|.) Y°u" expenses
4. The rental or home ownership expenses for your residence. include first mortgage payments and 1200
any rent for the ground or lot_ ' 4. $

 

lt not included in line 4:

 

 

 

4a. Real estate taxes 4a. $ 0
4b. Property, homeownefs, or renter’s insurance 4b. $ 0
4c. Home maintenance. repair, and upkeep expenses 4c. $ 0
4d. Homeowner’s association or condominium dues 4d. $ 0
Ofticial Form 106J Schedule J: Your Expenses page 1

 

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Debtor 1 Linda D Hart Case number (irknown)
First Name Middle Name Last Name
Your expenses
5. Additional mortgage payments for your residence, such as home equity loans 5. $ 0
6. Utilities:
6a. Electricity, heat, natural gas Sa. $ 0
6b. Water, sewer, garbage collection 6b. $ 0
6e. Telephone, cell phone, lntemet, satellite, and cable services 60. $ 125
6d. Other_ Specify: 0 6d. $ 0
7. Food and housekeeping supplies 7. $ 450
8. Childcare and children’s education costs 8_ $ 0
9. Clothing, laundry, and dry cleaning 9. $ 0
10. Personal care products and services 10. $ 75
11_ Medica| and dental expenses 11_ $ 60
12. Transportation. include gas, maintenance, bus or train fare. $ 100
Do not include car payments 12.
13_ Entertainment, clubs, recreation, newspapers, magazines, and books 13. $ 50
14. Charitable contributions and religious donations 14_ $ 0
15. lnsurance.
Do not include insurance deducted from your pay or included in lines 4 or 20.
15a. Life insurance 15a. $ 0
15b. Health insurance 15b. $ 0
150. Vehicle insurance 15¢:. $ 0
15d. Other insurance_ Specify: 15d. $ 0
16. Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20. 0
Specify: 16. $
17. lnstallment or lease payments:
17a. Car payments for Vehicle 1 17a. $ 0
17b. Car payments for Vehicle 2 17b. $ 0
17a. Other. Specify: 17¢_ $ 0
17a. Other_ Specify: 17d. $ 0
18. Your payments of alimony, maintenance, and support that you did not report as deducted from
your pay on line 5, Schedule I, Your lncome (thicial Form 106|). 18. $ 0
19. Other payments you make to support others who do not live with you.
Specify: 19. $ 0
20. Other real property expenses not included in lines 4 or 5 of this form or on Schedule I: Your Income.
20a Mortgages on other property 20a. $ 0
20b. Real estate taxes 20b_ $ 0
20c. Property, homeowner’s, or renter’s insurance 20¢:. $ 0
20d. Maintenance, repair, and upkeep expenses 20d. $ 0
20e, Homeowner’s association or condominium dues 20e. $ 0

 

Ofticial Form 106J Schedule J: ¥our Expenses page 2

 

 

 

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Debtor 1 Linda D Hart Case number (irknown)

First Name Middle Name Last Name

21. Other. Specify:

 

22. Calcu|ate your monthly expenses.
22a. Add lines 4 through 21`
22b. Copy line 22 (monthly expenses for Debtor 2), if any, from OfEcial Form 106J-2

22c. Add line 223 and 22b. The result is your monthly expenses

23. Calcu|ate your monthly net income.

23a. Copy line 12 (your combined monthly income) from Schedule I.

23b. Copy your monthly expenses from line 22c above.

23c. Subtract your monthly expenses from your monthly income.
The result is your monthly net income.

24. Do you expect an increase or decrease in your expenses within the year after you file this form?

For example, do you expect to finish paying for your car loan within the year or do you expect your
mortgage payment to increase or decrease because of a modification to the terms of your mortgage?

§ No.

5 Y€S- Explain here:

Ofticial Form 106J Schedule J: Your Expenses

 

21.

23a_

23b.

230.

 

 

 

$ 1936

..$ 2060

 

 

$ -124

 

page 3

 

 

 

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Fill in this information to identify your case:

Debtor 1 Lilldf| D Hart

First Name Middle Name Last Name

Debtor 2
(Spouse, if filing) Firs\ Name Last Name

 

unired States Bankmptcy conn for the: District of MARYLAND

Case number
(|f known)

 

 

El check irihis is an
amended filing

 

Officia| Form 106Dec
Declaration About an individual Debtor’s Schedules 12/15

 

lf two married people are filing together, both are equally responsible for supplying correct information.

You must file this form whenever you file bankruptcy schedules or amended schedules. Making a false statement, concealing property, or
obtaining money or property by fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20
years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

Did you pay or agree to pay someone who is NOT an attorney to help you fill out bankruptcy forms?

/WNQ
Cl

Yes. Name of person

 

. Attach Bankmptcy Petition Pleparers Notice, Declaration, and
Signature (Oflicial Form 1 19).

Under penalty of perjury, l declare that l have read the summary and schedules filed with this declaration and
that they are true and correct.

  

 

ignature of Debtor 1 Signature of Debtor 2
-4'~ ` 1 `
Date é'); ¢»> f f 67 Date
MM/ DD l YYYY MM/ DD/ YYYY

Official Form 1060ec Declaration About an lndividual Debtor’s Schedules

 

 

 

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United States Bankruptcy Court
District Of MARYLAND

 

IN RE. Hart, Linda

Debtor(s). Case No.

The above named Debtor(s) hereby verify that the attached list of creditors is true
and correct to the best cf my/our knowledge and that it corresponds to the creditors listed

in my/our schedules

/7 "
Date: 0;° ZO"/ § %M: M/M

Debtor

 

Joint Debtor

 

 

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Aargon Collection
8668 Spring Mountain Rd.
Las Vegas NV 89117

Capital One
Po Box 30253
Salt Lake City UT 84130

Capital One
Po Box 30253
Salt Lake City UT 84130

Comenity Capial Ny And Co
Po Box 182120
Columbus OH 43218

Comenity Bank Ann Taylor
Po Box 182789
Columbus OH 43218

Comenity Bank Ny
Po Box 182789
Columbus OH 43218

Credit One Bank
6801 S Cimarron Rd
Las Vegas NV 89113

George Washington Univ
900 23rd St Nw
Washington DC 20037

 

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George Washington Univ
900 23rd St Nw
Washington DC 20037

George Washington Univ Hospita
900 23rd St Nw
Washington DC 20037

Lendmark
Po Box 2969
Covington GA 30015

Macys
911 Duke Blvd
Mason OH 45040

Market Usa Federal Cu
8871 Gorman Rd

St 100

Laurel MD 20723

Medical Data Systems
128 W Center Ave 2nd Floor
Sebring FL 33870

Medical Data Systems
128 W Center Ave 2nd Floor
Sebring FL 33870

Merrick Bank Corp
Po Box 9201
Bethpage NY 11804

 

 

 

 

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Nordstrom Td Bank
13531 E Caley Ave
Englewood CO 80111

One Main

100 International Dr
15th Fl

Baltimore MD 21202

United Consumer Financial
865 Bassette
Westlake OH 44145

United Consumer Financial
865 Bassette
Westlake OH 44145

Verizon

500 Technology Dr

St 300

Wéldon Spring MD 63304

 

 

 

 

